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                  EXHIBIT C
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       IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
            BEFORE THE PATENT TRIAL and APPEAL BOARD

                                             )
In re Patent of: Adams, et al.               )
                                             )
U.S. Patent No.: 8,117,930                   )     Petition for Inter-Partes Review
                                             )
Issue Date: February 12, 2012                )
                                             )
Serial No. 12/484,501                        )
                                             )
Filing Date: June 15, 2009                   )
                                             )
Title: Cooling Bearings, Motors and Other    )
       Rotating Heat Generating
       Components

Attorney’s Docket No: 6482-020

Mail Stop Patent Board
Patent Trial and Appeal Board
U.S. Patent and Trademark Office (USPTO)
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Alexandria, VA 22313-1450


PETITION FOR INTER PARTES REVIEW OF U.S. PATENT NO. 8,117,930
         PURSUANT TO 35 U.S.C. §§ 311–319, 37 C.F.R. § 42


      Wavetamer Gyros, LLC (“Petitioner”) petition for Inter Partes Review

under 35 U.S.C. §§ 311-319 and 37 C.F.R § 42 of claims 1-17 of U.S. Patent No.

8,117,930 (the ’930 patent).
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                                   Exhibits
Exhibit
                                           Description
  No.
 1001     U.S. Patent No. 8,117,930 to Adams et al.
 1002     Prosecution History for the ’930 Patent
 1003     Expert Testimony by Dr. Greg Buckner
 1004     Dr. Greg Buckner Curriculum Vitae
          Buckner, Comparing Conductive and Convective Heat Transfer in a
  1005
          Rotating Annular Air Gap
  1006    U.S. Patent No. 6,973,847 to Adams et al., hereafter Adams
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  1008    PCT Publication WO 02/02943 to Woodard et al.
  1009    U.S. Patent Publication No. 2005/0040776 to Sibley, hereafter Sibley
  1010    German Patent No. DE19909491 to Jäger
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  1011
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  1012    U.S. Patent No. 3,844,341 to Bimshas et al. hereafter Bimshas
  1013    U.S. Patent No. 4,304,296 to Shaffer
  1014    U.S. Patent No. 4,800,956 to Hamburgen
  1015    U.S. Patent No. 5,787,976 to Hamburgen et al.
  1016    U.S. Patent No. 4,144,932 to Voigt
  1017    U.S. Statutory Invention Registration No. H312 to Parker
  1018    Western Research Laboratory Research Report to Hamburgen
  1019    U.S. Patent No. 1,108,761 to Kieser
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         cooling.com/2002/11/the-thermal-conductivity-of-air-at-reduced-pressures-
         and-length-scales/.
         Atmospheric Properties Calculator available at
 1027    http://www.aerospaceweb.org/design/scripts/atmosphere/ (last visited Aug. 9,
         2017).
 1028    U.S. Patent No. 796,893 to Brennan
 1029    U.S. Patent No. 1,150,311 to Sperry
 1030    U.S. Patent No. 5,628,267 to Hoshio (Mitsibushi)
         Mean Free Path, Dept. of Physics and Astronomy, Georgia State Univ.,
 1031    http://hyperphysics.phy-astr.gsu.edu/hbase/Kinetic/menfre.html (last visited
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I.    Mandatory Notices (37 C.F.R. § 42.8(a)(1))

            A. Real Party-in-Interest (37 C.F.R. § 42.8(b)(1))

      Petitioner, Wavetamer Gyros, LLC, is the real party-in-interest in this

Petition.

            B. Related Matters (37 C.F.R. § 42.8(b)(2))

      Petitioner is not aware of any other judicial or administrative matter that

would affect, or be affected by, a decision in the proceeding.

            C. Lead and Back-up Counsel (37 C.F.R. § 42.8(b)(3))

      Lead Counsel                                   Back-up Counsel
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Facsimile: (919) 854-2084                      Facsimile: (919) 854-2084

            D. Service Information

      Service on Petitioner may be made by mail or hand delivery to: David E.

Bennett, COATS & BENNETT, PLLC 1400 Crescent Green, Suite 300, Cary, NC

27518. Petitioners also consent to service by email at

bwoolard@coatsandbennett.com.

II.   Payment of Fees (37 C.F.R. § 42.103)




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       Petitioner pays the fee set forth in 37 C.F.R. § 42.15(a) via EFT Account.

Petitioner authorizes the USPTO to charge any deficiencies, or credit any

overpayment, related to this fee to Deposit Account No. 18-1167.

III.   Requirements for IPR (37 C.F.R. § 42.104)

       A.    Grounds for Standing (37 C.F.R. § 42.104(a))

       Petitioner certifies that the patent for which review is sought is available

for inter partes review, and further certifies that Petitioner is not barred or

estopped from requesting an inter partes review challenging the patent claims on

the grounds identified in this petition.

       B.    Claims Challenged (37 C.F.R. § 42.104(b)(1))

       Petitioner petitions for inter partes review of claims 1-17 of the ’930 patent.

       C.    Specific Statutory Grounds (37 C.F.R. § 42.104(b)(2))

       Ground 1: Claims 1-5, 7-17 are obvious under 35 U.S.C. §103 over Adams

in view of Sibley and Common Knowledge.

       Ground 2: Claims 6, 9 and 12 are obvious under 35 U.S.C. §103 over

Adams in view of Sibley and Common Knowledge, and further in view of

Bimshas.

       Ground 3: Claims 1-5, 7, and 9-17 are obvious under 35 U.S.C. §103 over

Adams in view of Jäger and Common Knowledge.




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      Ground 4: Claim 6 is obvious under 35 U.S.C. §103 over Adams in view of

Jäger, and further in view of Bimshas and Common Knowledge.

      Ground 5: Claims 1-7, and 9-17 are obvious under 35 U.S.C. §103 over

Adams in view of Bimshas and Common Knowledge.

      Ground 6: Claim 8 is obvious under 35 U.S.C. §103 over Adams in view of

Jäger, Bimshas, and Common Knowledge, and further in view of Sibley.

IV.   The ’930 Patent

      A.     Subject Matter of ’930 Patent, Filed June 15, 2009

      The ’930 patent is a continuation of U.S. Patent No. 7,546,782 having a

filing date of January 12, 2006. The ’930 patent relates generally to flywheel

devices and, more particularly, to a heat transfer assembly for cooling or

dissipating heat from the bearings of a flywheel device. Exhibit 1001, Col. 1, ll.

15-18. The specification of the ’930 patent teaches a particular application of the

heat transfer device in the context of a control moment gyro (CMG) used for roll

attenuation in boats, i.e., a boat stabilizer, but explains that embodiments are

applicable to cooling bearings in flywheel energy storage devices. Col. 5, ll. 41-

49.

      The background of the ’930 patent identifies overheating of bearings as a

problem in flywheel devices such as boat stabilizers and energy storage flywheels.

Col. 1, ll. 23-41. Flywheels for CMGs and energy storage devices are often



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contained within a vacuum environment to reduce aerodynamic drag on the

flywheel. Id. In this case, conventional air cooling methods cannot be used to cool

the bearings supporting the flywheel. Id.

       The heat transfer assembly as shown in Figures 1-3 in the ’930 patent is

designed to work in a vacuum environment. Exhibit 1001, Col. 1, ll. 15-18. The

heat transfer assembly includes two sets of interleaved fins 62, 66 for conducting

heat away from the bearings. The first set of fins 66 rotates with the flywheel and

the second set of fins 62 is fixed relative to the housing. Col. 6, l. 52 ‒ Col. 7, 1.

19; Figs 2&3. The interleaved fins 62, 66 are closely spaced to allow heat transfer

from the first set of fins to the second set of fins by both gaseous convection and

gaseous conduction. Id. The enclosure is preferably maintained at below ambient

pressure and contains a below ambient-density gas, e.g. helium or hydrogen. Id.

The enclosure is preferably maintained at below ambient pressure and contains a

below ambient-density gas, e.g. helium or hydrogen. Col. 6, ll. 38-42. The fins of

the first and second members are separated by a small gap on the order of 1 mm or

less. Id. at ll. 62-67.

       B.     Claim Construction (37 C.F.R. § 42.104(b)(3))

       In inter partes review proceedings, claims are given their broadest

reasonable interpretation in light of the claims and specification. Corning Optical

Commc’ns RF, LLC v. PPC Broadband, Inc., IPR2013-00340, Paper 89, Col. 4,



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(PTAB Nov. 16, 2016) (summarizing the findings of the Federal Court in

remanding the inter partes review); see also 37 C.F.R. § 42.100(b).

      1.       Construction of “Adjacent”

      The ordinary meaning of the term “adjacent” is “close to; lying near” or

“next to; adjoining.” Adjacent, The American Heritage Dictionary,

https://ahdictionary.com/ (last visited Mar. 8, 2017). In one sense, the term

“adjacent” is used to convey the idea that two items are next to one another or

adjoin one another. This is the narrowest meaning of adjacent. In other cases, the

term “adjacent” is used to mean that two items are near one another or close to one

another. This later construction is the broadest reasonable construction and is

consistent with the usage of the term adjacent in the specification and claims of the

’930 patent.

      2.       Construction of “Vane”

      Vane as used in the context of the claims and specification should be

construed to mean a fin. The term “vane” is used in the context of the claims and

specification as part of a cooling apparatus for transferring heat from and cooling

heat generating component(s). This use of the term “vane”: is synonymous with

the term “fin” defined as “a projecting vane used for cooling.” “Fin”, The

American Heritage Dictionary, https://ahdictionary.com/ (last visited Mar. 8

2017). This is consistent with the prosecution history in which the Patent Office



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considered the term “vane” to be synonymous with a “fin or projection”. See

Exhibit 1002, Prosecution History, pp. 33, 64.

      C.    Level of Ordinary Skill in the Art

      The issue of obviousness is determined with reference to a person having

ordinary skill in the art (PHOSITA). A person having ordinary skill in the art to

which the invention pertains would have a Bachelor of Science degree in

mechanical engineering with several years’ experience in the design of flywheel

devices, such as CMGs and energy storage flywheels. [Buckner Decl. ¶14].

V.    Common Knowledge and Art Prior to Jan. 12, 2006

      A.    Common Knowledge

      Heat transfer occurs when a temperature differential exists within a medium

or between media. Due to the Second Law of Thermodynamics, heat travels in the

direction from the warmer media to the cooler media. There are three basic modes

of heat transfer in a partial vacuum: conduction, convection, and radiation. The

heat transfer mechanisms discussed below are natural phenomena known to a

PHOSITA. [Buckner Decl. ¶15].

      Conduction occurs when a temperature differential exists in a stationary

medium. The stationary medium may be solid, fluid, or gas. Heat transfer by

conduction is due to the random movement of and collisions between molecules in

the stationary medium. When two molecules collide, energy is transferred from



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the molecule with higher energy to the molecule with lower energy. [Buckner

Decl. ¶15].

      Convection refers to heat transfer between a fluid (liquid or gas) moving

relative to a surface, when the two are at different temperatures. [Buckner Decl.

¶15]. Convection is comprised of two distinct mechanisms: energy transfer due to

the random motion of molecules (conduction), and energy transfer associated with

the relative bulk movement of the fluid (advection). Id. The term convection is

sometimes used to refer only to the advection component when distinguished from

conduction. See Exhibit 1001, Col. 1, ll. 50-57 (distinguishing conduction from

convection by defining convection by referring only to advection).

      Heat transfer by radiation occurs when the thermal emissions of matter are

transported across space by electromagnetic waves. Heat transfer by radiation is

dependent on the temperature differential between surfaces. [Buckner Decl. ¶15].

Thermal conductivity is a material property describing its ability to conduct heat.

The thermal conductivity of gases is dependent on factors such as temperature and

pressure. Gases of higher thermal conductivity have a greater capacity to transfer

heat. For example, at atmospheric pressure and 25°C, air has a conductivity of

0.026W/mK, hydrogen has a conductivity of 0.182W/mk, and helium has a greater

conductivity of 0.151W/mK. [Buckner Decl. ¶16].




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      A heat sink is a device that transfers thermal energy from a higher

temperature medium to a lower temperature medium. A heat sink may employ any

or multiple modes of heat transfer: conduction, convention, and radiation. The rate

at which heat is transferred depends upon the temperature gradient and the surface

area across which the heat is transferred. Heat sinks are commonly provided with

cooling fins to increase the surface area over which heat is transferred, and thus

increase the rate of heat transfer. It is common practice to cool the fins of a heat

sink with a moving liquid or gas (e.g., air). [Buckner Decl. ¶17].

      Interleaved fin thermal connectors are well-known tools to a PHOSITA to

apply these same principles to transfer heat between closely spaced surfaces. In

interleaved fin thermal connectors, cooling fins extend from two surfaces to form

an array of interleaved fins. The convoluted interface between the interleaved fins

provides a much larger surface area than the original planar surfaces to greatly

enhance heat transfer. The interleaved fins may be designed to translate linearly

relative to one another, or to rotate relative to one another. Exhibits 1009 – 1020

show various prior art interleaved fin thermal connectors. Heat transfer by

radiation, gaseous conduction, and gaseous convection naturally occurs in

interleaved fin thermal connectors, depending on the gas temperature and pressure.

Generally, at low temperature differentials, only a small amount of heat is

transferred by radiation. In comparison to radiation, significantly more heat can be



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transferred by gaseous conduction and gaseous convection in an interleaved fin

thermal connector. [Buckner Decl. ¶18].

The term “partial vacuum” is used to describe vacuums that include some gaseous

material, but the gas is held at pressure below atmospheric pressure (760 Torr).

[Buckner Decl. ¶19]. As noted in the ’930 patent, heat transfer occurs in a partial

vacuum. The ’930 patent states:

      The thermal conductivity of the gas (K) is constant irrespective of
      pressure until the pressure is so low that the gas molecular mean free
      path is equal to or greater than the distance between the surfaces (ΔX).
      This means that the amount of heat transferred will be independent of
      pressure until the gas molecular mean free path is greater than the
      distance between the surfaces. Below the pressure where the gas
      molecular mean free path is greater than the distance between the
      surfaces, the gas molecules will continue to conduct heat but now
      there is a reduction in the thermal conductivity (and the amount heat
      transferred) with further reductions in the gas pressure.

Exhibit 1001, Col. 2, ll. 17-23. In partial vacuums, heat transfer by gaseous

conduction is largely unaffected until a vacuum pressure of approximately 1 Torr

is reached. [Buckner Decl. ¶19].

            B.     Gyroscopic Roll Stabilizers

      A gyroscopic roll stabilizer comprises a flywheel mounted in a gimbal that is

attached to the hull of a boat. When the flywheel is rotated at high speeds, the



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angular momentum of the flywheel causes the flywheel to rotate or precess about

the gimbal axis. By controlling the precession rate, a torque may be created to

dampen or suppress the rolling motion of the boat.

      Gyroscopic roll stabilizers have been in use for over 100 years. For

example, early gyroscopic roll stabilizers are disclosed in US Patent No. 796,893

to Brennan (Exhibit 1028) and US Patent No. 1,150,311 to Elmer Sperry (Exhibit

1029). More recent roll stabilizers are shown in US Patent No. 5,628,267 to

Hoshio (Exhibit 1030).

      C.     Exhibit 1006, U.S. Patent No. 6,973,847 to Adams et al., Issued
             December 13, 2005

      Adams discloses a gyroscopic roll stabilizer for a boat. Adams, Abstract.

Figure 5 of the ’847 patent reproduced below shows main components of the

gyroscopic roll stabilizer.




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                                ’847 Patent, Fig. 5

      The gyroscopic roll stabilizer in Adams includes a flywheel 16, shaft 18,

spin motor 24, and bearings 20 (heat generating elements). Adams, Col. 6, ll. 41-

49; Figs. 5, 6. An enclosure 30 surrounds the flywheel 16, shaft 18, bearings 20,

and spin motor 24. Id. Describing the enclosure, Adams states:

      An enclosure 30 surrounds the flywheel. In some implementations,
      the enclosure is configured to maintain a below-ambient pressure
      within its interior, so that the flywheel spins in a below ambient
      pressure, and thus with less aerodynamic drag than would be the case
      were it to spin at ambient pressure. In other implementations, a below
      ambient density gas (e.g., helium) is contained within the enclosure,
      also for the purpose of reducing aerodynamic drag. Below-ambient
      pressure and below-ambient density could both be employed
      simultaneously, or used independently (e.g., a below-ambient gas at


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      ambient pressure or an ambient-density gas at below-ambient
      pressure), as either can assist in reducing aerodynamic drag.

Adams, Col. 6, l. 57 – Col. 7, l. 2 (emphasis added).

      Adams also discloses the need for a cooling device to cool the flywheel

bearings. Discussing the need to cool the bearings, Adams states:

      Preferably, the flywheel is driven at high tip speeds above 650 ft/sec
      on ships, and above 450 ft/sec on small boats. More preferably, the tip
      speed on small boats is above 650 ft/sec, and most preferably above
      850 ft/sec. The enclosures maintaining a below ambient pressure
      and/or below ambient density makes the higher tip speeds possible.
      Still higher tip speeds (e.g., 1200 to 1500 ft/sec) may provide
      improved performance. Provision for cooling the flywheel bearings
      may be necessary at very high tip speeds.

Adams, Col. 7, ll. 21-30 (emphasis added). Adams, however, does not disclose

any details of the bearing cooling device.

      D.     Exhibit 1007, U.S. Patent No. 6,959,756 to Woodard et al., Issued
             November 1, 2005

      Woodard discloses a flywheel energy storage system. Woodard, Col. 19, ll.

24-28. The flywheel energy storage system includes an enclosure maintained

under vacuum to reduce aerodynamic drag on the flywheel. Id. at ll. 33-38.

Woodard recognizes the problem of bearing heating and describes a cooling device




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that is intended to work in a vacuum. Col. 1, ll. 9-12. Describing the bearing

heating problem, Woodard states:

      The typical flywheel assembly 104 includes a flywheel, a shaft to
      which is secured the flywheel and one or more bearings or bearing
      assemblies that rotatably support the shaft. … Because the rotatable
      supporting of the rotating flywheel results in the production of heat
      energy in the bearings or bearing assemblies, the operational life of
      the flywheel assembly 104 as well as the operational life of the
      flywheel energy storage system 100 is dependent in part upon the
      ability of the flywheel energy storage system to dissipate heat energy
      developed in the bearings or bearing assemblies.

Woodard, Col. 1, ll. 42-58. Woodard also describes several known solutions for

cooling bearings in a flywheel assembly:

      One conventional technique to dissipate this heat energy involves
      cooling the fluid that lubricates the bearings or providing a separate
      fluid cooling system for the bearings. This technique, however,
      necessarily requires that the lubricated bearings and/or cooling
      systems be sealed and not exposed to the vacuum environment within
      the flywheel housing 102 as well as providing a mechanism for
      putting the cooling medium in thermal connection with the
      environment outside of the flywheel housing.


      Another technique involves the use of the supporting structure(s) for
      the flywheel and the bearings or bearing assemblies as a thermal
      conduction path to conduct the heat energy of the bearings to the

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      flywheel housing 102. The heat energy is thence communicated to the
      external environment via the flywheel housing.

Woodard, Col. 1, l. 53 – Col. 2, l. 4.

      Woodard’s approach to heat dissipation is a variant of the second prior art

technique described above that allows for some relative radial and axial movement

of the heat transfer components. Describing in general how this heat transfer

assembly 200 works, Woodard states:

      The present invention features a heat transferring device that dissipate
      [sic] heat energy being generated by a device that produces or
      generates unusable heat energy during operation such as a bearing(s),
      more particularly the one or more bearing assemblies of a flywheel
      energy storage system being under a vacuum environment. Such a
      heat transferring device is advantageously configured and arranged so
      that at least some of the heat energy of the heat generating device or
      bearing is communicated directly from the locus of the bearing or heat
      generating device directly to a heat sink structure remote from the
      locus of the bearing or heat generating device.

Woodard, Col. 2, ll. 30-41 (emphasis added).

      The heat transfer assembly 200 in Woodard is shown in Figure 8 reproduced

below.




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                                  Woodard, Fig. 8

      The heat transfer assembly 200 includes a first conductive member (i.e.,

inner member 202) that is thermally coupled to the flywheel bearings (e.g.,

bearings 604, 606), and a second conductive member (i.e., outer member 204) that

is thermally coupled to a heat sink (e.g., housing 602, not shown in Fig. 8, for the

energy storage flywheel). Woodard, Col. 7, ll. 44-46, 65 – Col. 8, l. 16); Fig. 6.

Third conductive members 206 transfer heat from the inner member to the outer

member. Id. The third conductive members are described as being flexible to

allow for some relative radial and axial movement between the inner member and

outer member. Col. 4, ll. 29-32. The entire assembly is contained within an

enclosure that maintains a vacuum within the enclosure. Col. 19, ll. 25-28.




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      E.     Exhibit 1009, U.S. Patent Publication No. 2005/0040776 to Sibley,
             Published February 24, 2005

      Sibley discloses a flywheel energy storage system. Sibley, Abstract.

Figure 4 of Sibley is reproduced below.




                                       Sibley, Fig. 4

      Sibley’s flywheel energy storage system includes a flywheel 412, motor 414,

and shaft 416 enclosed within a vacuum enclosure 418. Sibley, [0129-0134];

Fig. 4. The energy storage system further includes a bearing assembly 436

including an inner ring 446, an outer ring 444, and a plurality of bearing balls 442.


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Sibley, [0134]. Sibley explains that if the bearings overheat due to bearing friction,

the bearings will self-destruct during operation. Sibley, [0011].

      The shaft 416 in Sibley is provided with cooling fins 438 to dissipate heat

that builds up due to bearing friction. Sibley, [0142]; Fig. 4; see also Fig. 24,

[0177] (cooling fins 703). Fins 438 extend radially from the shaft 416 and rotate

with the shaft 416. Id. Stationery heat transfer fins 440 are integrally formed with

the vacuum enclosure 448. Id. The rotating fins 438 and stationery fins 440 are

interleaved. Id. In the cooling device described by Sibley, heat flows by solid

conduction from the inner race of the bearings and rotating shaft 416 to the rotating

fins 438 across the gap between the rotating fins 438 to the stationery fins 440, and

by solid conduction from the stationery fins 440 to the exterior of the enclosure

418. Sibley, [0141-0144].

      F.     Exhibit 1010, German Patent No. DE19909491 to Jäger,
             Published September 7, 2000

      German patent DE 19909491 to Jäger discloses a cooling device for cooling

a rotatably mounted shaft. Jäger, Col. 1, ll. 3-4. The shaft is rotatably journaled in

bearings that include an inner race and an outer race. Fig. 1 (as shown below). As

described by Jäger, bearing friction causes heat buildup in the inner race and in the

rotating shaft. Col. 4, ll. 4-11. Jäger discloses a cooling device for dissipating heat

generated by the bearing. Id.




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                                       Jäger, Figure 1

      The cooling device in Jäger comprises two thermally conductive members or

heat sinks that rotate relative to one another. Jäger, Fig. 1; Col. 1, ll. 26-35. The

inner heat sink 6 is attached to the rotating shaft 3 and includes a first set of

equally-spaced cooling fins 9. Col. 2, l. 51 ‒ Col. 3, l. 12. The cooling fins are in

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the form of flat, planar discs that extend radially outward from the outer surface of

the first cooling body. Id. The outer heat sink 7 is connected to the housing 1

surrounding the rotating shaft 3 and includes equally-spaced cooling fins 12, 13

that extend radially inward towards the shaft. Col. 3, ll. 16-22. The fins on the

heat sinks are staggered relative to one another and interleaved. Id. at 22-30.

      G.     Exhibit 1012, U.S. Patent No. 3,844,341 to Bimshas et al., Issued
             October 29, 1974

      Bimshas discloses a rotatable heat transfer device 10 with interleaved fins

12, 16 for transferring heat from a heat source to a relatively rotating heat sink

without the use of blowers. Bimshas, Col. 1, ll. 29-31. Bimshas indicates that his

heat transfer device 10 can be used in inertial guidance system to transfer heat

between relatively rotating gimbals. Id. at ll. 22-26.

      Figure 1 of Bimshas is reproduced below.




                                  Bimshas, Fig. 1,


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       In Bimshas, first and second thermally conductive members 10, 14 are

mounted for relative rotation. Bimshas, Col. 2, ll. 31-36; Fig. 1. The first member

10 connects to a heat source (not shown), which may be any component that

generates heat. Id. at ll. 5-8. First member 10 includes a first set of equally spaced

fins 12. Id. at ll. 8-10. The second member 14 connects to a heat sink (not shown)

and includes a second set of equally spaced fins 16. Id. at ll. 11-13. The fins 16

are interleaved so that the fins 16 on the second member extend into the gaps

between the fins 12 on the first member 10, and vice versa. Id. at ll. 13-16. The

spacing between the fins is between 0.005-0.007 inches (or 0.127 mm-0.178mm).

Id. at ll. 24-26. Bimshas teaches that the space between the fins may be filled with

a thermally conductive gas such as helium to reduce thermal impedance. Col. 3, ll.

22-24.

       In the embodiment shown in Figure 1, the fins 12 and 16 are in the form of

concentric cylinders and extend in a direction parallel to the axis of relative

rotation. Bimshas, Col. 1, ll. 37-39. In other embodiments, the fins 12, 16 are in

the form of flat, annular disks that extend in a direction perpendicular to the

rotational axis. Id. at ll. 40-50; Fig. 2.




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VI.   Grounds 1 and 2

      The Claim Chart Appendix (Section X) provides a claim mapping of all the

elements of claims 1-17 in accordance with Grounds 1 and 2.

      A.     Claims 1 and 14 are obvious over Adams in view of Sibley and
             Common Knowledge (Ground 1).
      Adams discloses a gyroscopic roll stabilizer for a boat. Abstract; Col. 6, ll.

9-34; Figs. 1-7. The gyroscopic roll stabilizer in Adams includes a flywheel 16

and bearings 20 (i.e., heat generating elements) contained within a vacuum

enclosure 30. Col. 6, ll. 41-49; Figs. 5, 6. Adams also discloses the need for a

cooling device to cool the flywheel bearings. Adams, Col. 7, ll. 28-29 (“Provision

for cooling the flywheel bearings may be necessary at very high tip speeds.”).

Adams, however, does not disclose any details of the bearing cooling device.

      In a closely related technology area, Sibley discloses a flywheel energy

storage system 10, which like Adams includes a flywheel 412 supported by

bearings 436 and enclosed within a vacuum enclosure 448. Sibley, [0129-0134];

[0142]; Fig. 4. Sibley recognizes that heat caused by bearing friction is a problem.

Sibley teaches a cooling device comprising interleaved fins 438, 440 to cool the

flywheel bearings 436. Sibley, [0142-0144]; Fig. 4. Similarly, the two Woodard

references likewise teach that heat due to bearing friction is a problem in an energy

storage flywheel and describes heat transfer paths to transfer heat away from

flywheel bearings. Exhibits 1007-1008. Further, the Patent Owner in background


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discusses that cooling problems applicable to flywheels in a CMG may also exist

in flywheel energy storage devices and acknowledges that flywheel energy storage

solutions can present sources of information for cooling solutions applicable to

flywheels in a CMG. Exhibit 1001, col. 1, ll. 36-41.

      It would be obvious to a PHOSITA to use the cooling fins 438 and 440 of

Sibley in Adams’ gyroscopic roll stabilizer. Adams explicitly discloses a need to

cool the bearings 20, but does not describe the cooling device. Adams, Col. 7, ll.

28-29 (“Provision for cooling the flywheel bearings may be necessary at very high

tip speeds.”). A PHOSITA would recognize that the teachings of Sibley related to

cooling bearings in a flywheel energy storage device are also applicable to other

flywheel devices such as Adams’ roll stabilizer. [Buckner Decl. ¶26]. A

PHOSITA would be motivated to incorporate interleaved cooling fins 438, 440 as

described by Sibley into the flywheel device of Adams to cool Adams’ flywheel

bearings 20. More particularly, it would be obvious to a PHOSITA to add rotating

fins 438 to the shaft 18 of the Adams flywheel 16 and stationary fins 440 to the

enclosure 30 in Adams. The motivation to combine Adams and Sibley is that

Adams explicitly discloses the need for a cooling device to cool the flywheel

bearings 20, and Sibley discloses a cooling device for cooling flywheel bearings in

a closely related technology. [Buckner Decl. ¶26].




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       The Adams/Sibley combination discloses all of the limitations of claims 1

and 14 as shown in the Claim Chart Appendix (Section X). Adams discloses a

flywheel device mounted on a gimbal and configured as a gyroscopic boat

stabilizer to damp rolling motion when installed on a boat. Col. 6, ll. 9-34. Adams’

gyroscopic boat stabilizer includes a flywheel 16 within an enclosure 30 containing

a below ambient density gas (e.g., helium) and maintaining a below ambient

pressure. Col. 6, ll. 40 ‒ Col. 7, l. 11. Helium has a thermal conductivity at least 5

times greater than air. [Buckner Decl. ¶16]. Adams further discloses a rotating

heat generating component (bearings 20) coupled to the flywheel 16. Col. 6, ll. 46-

48; Figs. 5, 6.

       Sibley discloses a cooling device for cooling flywheel bearings. The cooling

device in Sibley includes a first plurality of vanes (fins 438) that rotate with the

flywheel 412 relative to the enclosure 448, and a second plurality of vanes (fins

440) fixed relative to the enclosure 448. Sibley, [0140-0142]; Fig. 4. The second

set of fins 440 define gaps into which the first set of fins 438 extend so that the

first set of fins 438 and second set of fins 440 are interleaved. Sibley, Fig. 4.

Sibley also teaches that the flywheel bearings 436 are positioned adjacent to the

first set of fins 438 such that heat is transferred from the flywheel bearings 436 to

the first set of fins 438. Sibley, [0134-0140]; Fig. 4. In Sibley, heat flows by solid

conduction from the inner race of the bearings 436 and flywheel shaft to the first



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set of fins 438. [Buckner Decl. ¶23]. Therefore, using interleaved fins 438, 440 as

taught by Sibley to transfer heat from the bearings 20 in Adams’ gyroscopic boat

stabilizer results in a structure that meets all of the limitations of claims 1 and 14.

      B.     Claims 2-5, 7-13, and 15-17 are obvious over Adams in view of
             Sibley and Common Knowledge (Ground 1)
      Claims 2 and 15 depend respectively from claims 1 and 14, which are

discussed above. Claims 2 and 15 further recite that the heat generating

component includes “at least one bearing supporting the flywheel” and states that

the bearing has “an inner race and an outer race.” Adams discloses flywheel

bearings 20 that generate heat during operation. The bearings have an inner race

and an outer race. Col. 6, ll. 44-49; Col. 7, ll. 28-29; Figs 5, 6. Likewise, Sibley

discloses bearings 436 supporting the flywheel, which have an “inner ring 446,”

and “an outer ring 444.” Sibley, [0134]; Fig. 4.

      Claims 2 and 15 further state that the “bearing is located adjacent the first

plurality of vanes such that heat flows from the inner race to the first plurality of

vanes, from the first plurality of vanes to the second plurality of vanes, and from

the second plurality of vanes to the exterior of the enclosure.” Sibley explicitly

teaches the same heat transfer path recited in claims 2 and 15. Specifically, Sibley

teaches that heat is transferred from the bearings 436 to the first set of fins 438,

from the first set of fins 438 to the second set of fins 440, and then to the exterior

of the enclosure 448 via exterior cooling fins 452. Sibley, [0140-0144]. Therefore,


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using interleaved fins 438, 440 as taught by Sibley to transfer heat from the

bearings 20 in Adams’ gyroscopic boat stabilizer results in a structure that meets

all of the limitations of claims 2 and 15. [Buckner Decl. ¶27].

      Claims 3, 11 and 16 depend respectively from claim 2, 1 and 15. As

discussed above, the limitations of claims 2, 1 and 15 are fully disclosed by the

Adams/Sibley combination. Claims 3, 11 and 16 further recite that “the first

plurality of vanes and the second plurality of vanes are sized and spaced such that

the heat flows from the first plurality of vanes to the second plurality of vanes by

gaseous conduction.” The purpose of the cooling fins 438, 440 in Sibley is to

dissipate heat that builds up due to bearing friction. Sibley, [0142]; Fig. 4; see also

Fig. 24; [0177] (cooling fins 703). A PHOSITA would understand that, in order to

cool the flywheel bearings 20 in Adams, it is necessary (and common sense) to

space the interleaved fins close enough so that heat is transferred from the first set

of fins to the second set of fins. Otherwise there is no point in using fins 438, 440.

      Sibley does not explicitly mention heat transfer by gaseous conduction

between the first and second sets of fins 438, 440. However, gaseous conduction

would naturally occur in an enclosure filled with a below ambient density gas at

the operating pressures taught by Adams. Specifically, Adams teaches that “the

pressure is preferably below 190 Torr (0.25 atmosphere), and more preferably

below 7.6 Torr (0.01 5 atmosphere).” Col. 7, ll. 4-6. At the pressures taught by



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Adams, there would be a sufficient gas in the space between the interleaved fins so

that heat transfer by gaseous conduction would naturally occur due to the Second

Law of Thermodynamics. [Buckner Decl. ¶¶29, 38-40]; Ex. 1005.

      Petitioner’s expert, Dr. Buckner, has conducted simulations to show that

heat transfer across a viscous fluid confined in a gap between two relatively

rotating cylinders using a Taylor-Couette flow model. [Buckner Decl. ¶¶29, 33-

34]; Ex. 1005. His simulations analyzed the relative amounts of heat transfer by

conduction, advection, and radiation at pressures of 760 Torr, 76 Torr, 7.6 Torr,

0.76 Torr, and 0.076 Torr. Dr. Buckner’s analysis shows that in the range of 76

Torr-0.076 Torr, a range where a flywheel devices are likely to operate, heat is

transferred by gaseous conduction. [Buckner Decl. ¶¶29, 32-34]; Ex. 1005. This

range encompasses the preferred operating pressure disclosed Adams and in the

’930 patent.

      Further, a PHOSITA would recognize that, in an interleaved fin thermal

connector for a boat stabilizer, radiation alone could not provide sufficient heat

transfer to cool the bearings in a partial vacuum as taught by Adams. Only a small

amount of heat can be transferred by radiation due to the limited surface area of the

fins and the relatively low temperature differential at desired operating

temperatures. In comparison to radiation, significantly more heat can be

transferred by gaseous conduction and gaseous convection. Therefore, reliance on



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gaseous conduction to get significant heat transfer is almost certainly necessary.

Reliance on gaseous conduction is not simply one of several ways of transferring

heat, but rather is the only practical way to transfer significant amount of heat in a

partial vacuum. [Buckner Decl. ¶31].

      In proceedings before the European Patent Office (EPO) of an application

claiming priority to the same US application as the ’930 patent, the Patent Owner

admitted that neither gaseous convection nor radiation provided a suitable

mechanism for heat transfer in a partial vacuum, leaving gaseous conduction as the

only practical solution. See Exhibit 1036 (including an EPO office action, Patent

Owner response, and published EP application). The EPO cited the Jäger

reference in rejecting the claims in the corresponding EP application in an opinion

issued January 2, 2013. Id. at pp. 1, 4. The Applicant amended the pending claim

in response to recite that heat transfer between the fins occurred by gaseous

conduction. Id. at pp. 8, 16-21. Distinguishing the claimed invention, the Patent

Owner argued that Jäger and another cited reference EP 1,193,837 relied on heat

transfer by gaseous convection, rather than gaseous conduction, “which is not

compatible with providing a partial vacuum.” Id. at p. 9 (emphasis in original).

The Patent Owner further argued that:

      The amount of heat that can be removed from a rotating shaft by
      radiation using interleaved fins is low. Radiant heat transfer relies on
      a large temperature differential and/or a large surface area neither of

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      which is desirable in the rotating machine arrangements of the present
      invention. The rotating and stationary components should not operate
      at the required high temperature differentials because of the adverse
      effects on lubricant life and thermal expansions. The necessary fins
      surface area cannot be incorporated in the machine to allow the
      rotating and stationary components to operate at low temperature
      differentials. Id. at pp. 9-10.

Patent Owner’s admissions in the proceedings before the European Patent

Office show that gaseous conduction is, for most practical applications,

required to get significant heat transfer between interleaved fins in a partial

vacuum.

      Use of a partial vacuum environment involves a known tradeoff between

two competing design criteria in flywheel systems: reductions in aerodynamic drag

at lower gas pressures are accompanied by reductions in heat transfer by gaseous

conduction and convection. If heat transfer is an important design objective, a

PHOSITA would design the system to operate at pressures that significantly reduce

aerodynamic drag (which reduces heat generation) while providing significant heat

transfer by gaseous conduction and gaseous convection. Id. Significant reductions

in aerodynamic drag can be achieved at medium vacuum pressures, Exhibit 1038,

p. 105-16 for example, documents an 85% reduction in skin drag coefficient and a

70% reduction in viscous drag as air pressure is reduced from atmospheric, 760



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Torr, to 0.01 Torr. [Buckner Decl. ¶32]. In this range, heat transfer would be

primarily by gaseous conduction and convection. Adjusting parameters such as fin

spacing, gas type, and operating pressure to optimize heat transfer by gaseous

conduction involves only routine skill. Therefore, claims 3, 11 and 16 are obvious

over the Adams/Sibley combination. [Buckner Decl. ¶32]

      Claim 4 depends from claim 3, which as discussed above is disclosed by the

Adam/Sibley combination. Claim 4 further recites that the below ambient density

gas in the enclosure comprises hydrogen. Adams explicitly teaches that the

enclosure is preferably maintained at below ambient pressure and contains a

below-ambient density gas. Adams, Col. 6, l. 57 – Col. 7, l. 2. The purpose of the

below ambient density gas in Adams is to reduce aerodynamic drag. Adams

further teaches that the below-ambient density gas may comprise helium, but does

not specifically disclose using hydrogen gas. Like helium, hydrogen is a below-

ambient density gas with a higher thermal conductivity than air. [Buckner Decl.

¶16]. Moreover, hydrogen has lower density and higher thermal conductivity than

helium. Id. It would be obvious to a PHOSITA to use hydrogen as recited in

claim 4 in place of helium in the Adams/Sibley combination in order to reduce

aerodynamic drag on the flywheel in Adams. Further, a PHOSITA would

recognize that using hydrogen would increase heat transfer gaseous conduction




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between the interleaved fins. Therefore, claim 4 is obvious over the Adams/Sibley

combination. [Buckner Decl. ¶36].

      Claims 5 and 17 depend respectively from claims 3 and 16. As discussed

above, the limitations of claims 3 and 16 are disclosed by the Adams/Sibley

combination. Claims 5 and 17 further recite that the below ambient density gas

comprises helium. Adams explicitly teaches that the enclosure is preferably

maintained at below ambient pressure and contains a below-ambient density gas.

Adams, Col. 6, l. 57 – Col. 7, l. 2. The purpose of the below ambient density gas

in Adams is to reduce aerodynamic drag. Adams further teaches that the below-

ambient density gas may comprise helium as recited in claims 5 and 17.

Therefore, claims 5 and 17 are obvious over the Adams/Sibley combination.

[Buckner Decl. ¶37].

      Claim 7 depends from claim 5. As discussed above, the limitations of

claim 5 are disclosed by the Adams/Sibley combination. Claim 7 further recites “a

heat sink configured such that heat flows from the second plurality of vanes to the

heat sink.” Claim 8 depends from claim 7 and recites that the “heat sink comprises

air-cooled fins on the exterior of the enclosure.” Sibley discloses a heat sink with

air-cooled fins 452 on the exterior of an enclosure 448 to increase heat transfer.

Sibley, [0144]; Fig. 4. It would be obvious to use the enclosure 30 of Adams as a

heat sink and to have air-cooled fins on the enclosure as taught by Sibley. The



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reasons to do so is for the same reason Sibley includes air-cooled fins: to improve

heat transfer from the bearings. Therefore, claims 7 and 8 are obvious over Adams

in view of Sibley. [Buckner Decl. ¶39].

      Claims 9 and 12 depend respectively from claims 1 and 11. As discussed

above, the limitations of claims 1 and 11 are disclosed by the Adams/Sibley

combination. Claims 9 and 12, further recite that “a distance between the first

plurality of vanes and the second plurality of vanes is less than 5 mm.” Sibley

discloses interleaved fins that are spaced closely enough to allow heat transfer

between the fins, but does not give any specific dimensions. Selecting the

dimension of the gap between the fins to get a desired amount of heat transfer

would involve only routine skill to optimize a known result-dependent variable.

Therefore, claims 9 and 12 are obvious over the Adams/Sibley combination.

[Buckner Decl. ¶35].

      Claim 10 depends from claim 5, which as discussed above is disclosed by

the Adams/Sibley combination. Claim 10 further recites that the pressure within

the enclosure of the boat stabilizer is less than 390 Torr. Adams explicitly teaches

that the enclosure should be maintained at pressure below 390 Torr as recited in

claim 10 in order to reduce aerodynamic drag on the flywheel. Adams, Col. 7, ll.

1-11. Therefore, claim 10 is obvious over the Adams/Sibley combination.

[Buckner Decl. ¶38].



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      Claim 13 depends from claim 1, which is discussed above. Claim 13 further

recites that the stabilizer includes “a flywheel drive motor configured to spin the

flywheel about a spin axis; and a device for applying a torque to the flywheel.”

Adams’ boat roll stabilizer comprises a flywheel drive motor 24 configured to spin

a flywheel about a spin axis. Abstract; Col. 6, ll. 50-56; Figs. 5&6. Adams’ boat

stabilizer also includes a device for applying a torque to a flywheel rotating about a

gimbal axis. Col. 7, l. 62 ‒ Col. 8, l. 65 (describing various types of torque

applying devices). Thus, claim 13 is obvious over the Adams/Sibley combination.

[Buckner Decl. ¶41].

      C.     Claim 6, 9, and 12 are obvious over Adams in view of Sibley and
             Common Knowledge, and further in view of Bimshas (Ground 2)
      Claim 6 depends from claim 5. As discussed above, the limitations of claim

5 are disclosed by the Adams/Sibley combination. Claim 6 further recites

limitations regarding geometric arrangement of the interleaved fins. Specifically,

claim 6 recites that “the first plurality of vanes are cylindrical elements extending

in a first direction substantially parallel to the spin axis,” and that “the second

plurality of vanes are cylindrical elements extending in a second direction

substantially parallel to the spin axis and opposite the first direction.” The specific

geometric arrangement of the interleaved fins recited in claim 6 is disclosed in

Bimshas.




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      Bimshas discloses a rotatable heat transfer device with interleaved fins 12,

16 that rotate relative to one another. A first set of fins 12 is connected to a heat

source and a second set of fins 16 is connected to a heat sink. Bimshas, Col. 2, ll.

4-16; Fig. 1. In the embodiment shown in Figure 1, the fins 12 and 16 are in the

form of concentric cylinders and extend in a direction parallel to the axis of

rotation. Bimshas, Col. 2, ll. 37-39. This fin geometry is referred to herein as the

cylindrical fin geometry. In the cylindrical fin geometry, the cooling fins 12 and

16 extend in opposite directions. In another embodiment shown in Figure 2, the

fins 12, 16 are in the form of flat annular disks and extend in a direction

perpendicular to the rotational axis. Bimshas, Col. 2, ll. 40-50; Fig. 2. This

geometry is referred to herein as the planar disc fin geometry. In the planar disc

fin geometry, the cooling fins 12 and cooling fins 16 extend radially outward

relative to the rotational axis of the rotatable heat transfer device.

      It would be obvious to modify the Adams/Sibley combination to use the

cylindrical fin geometry as taught by Bimshas. Sibley uses the same planar disc

fin geometry that is disclosed in Figure 2 in Bimshas. Bimshas teaches that the

planar disc fin geometry and the cylindrical fin geometry are simply two

alternative fin geometries available to a PHOSITA. Thus, a PHOSITA would

recognize that the cylindrical fin geometry and planar disc fin geometry are

interchangeable depending on other design constraints, such as the size and shape



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of the enclosure. That is, the use of cylindrical fin geometry in place of the planar

disc fin geometry is simply the substitution of one element (planar disc fin

geometry) of the Adams/Sibley with a known equivalent (cylindrical fin geometry)

to produce predictable results. Therefore, claim 6 is obvious over

Adams/Sibley/Bimshas combination. [Buckner Decl. ¶¶25-26].

      Claims 9 and 12 depend respectively from claims 1 and 11. As discussed

above, the Adams/Sibley combination discloses the limitations of claims 1 and 11.

Claims 9 and 12 further recite that “a distance between the first plurality of vanes

and the second plurality of vanes is less than 5 mm.” The gap between interleaved

fins 9 and 12 in Bimshas is between .005 (.127 mm) to .007 (.178 mm) inches.

Bimshas, Col. 2, ll. 23-26. This gap is below the maximum 5 mm spacing recited

in claims 9 and 12. Further, selecting the dimension of the gap between the fins to

get a desired amount of heat transfer would involve only routine skill to optimize a

known result-dependent variable. Therefore, claims 9 and 12 are obvious over the

Adams/Sibley/Bimshas combination. [Buckner Decl. ¶35].

VII. Grounds 3-4

      The Claim Chart Appendix (Section X) provides a claim mapping of all the

elements of claims 1-7, 9-17 in accordance with Grounds 3-4.




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      A.     Claim 1 is obvious over Adams in view of Jäger and Common

             Knowledge (Ground 3).

      Adams discloses a gyroscopic stabilizer for a boat. Adams, Abstract; Col. 6,

ll. 9-34; Figs. 1-7. The gyroscopic boat stabilizer in Adams includes a flywheel 16

and bearings 20 (i.e., heat generating elements) contained within a vacuum

enclosure 30. Col. 6, ll. 41-49; Figs. 5&6. Adams also discloses the need for a

cooling device to cool the flywheel bearings. Adams, Col. 7, ll. 28-29 (“Provision

for cooling the flywheel bearings may be necessary at very high tip speeds.”).

Adams, however, does not disclose any details of the bearing cooling device.

      In a closely related technology area, Jäger discloses a cooling device

comprising closely spaced, interleaved fins 9, 12, and 13 to cool bearings 4, 5

supporting a rotating shaft 3. Jäger, Col. 1, ll. 26-35; Fig. 1; Abstract. More

particularly, Jäger discloses a first set of cooling fins 9 disposed adjacent the

bearings 4, 5 and supporting the rotating shaft 3, and a second set of fins 12, 13

that are fixed relative to the enclosure. Jäger, Col. 2, l. 51 ‒ Col. 3, 1. 22; Fig. 1.

The first set of fins 9 and second set of fins 12, 13 are closely spaced so that heat is

transferred from the bearings 4, 5, to the first set of fins 9, and from the first set of

fins 9, to the second set of fins 12, 13. Jäger, Col. 3, ll. 22-30.

      It would be obvious to a PHOSITA to use the cooling fins 9, 12, and 13 as

disclosed by Jäger in Adams’ gyroscopic boat stabilizer. Adams explicitly



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discloses a need to cool the bearings 20, but does not describe the cooling device.

Adams, Col. 7, ll. 29-30 (“Provision for cooling the flywheel bearings may be

necessary at very high tip speeds.”). A PHOSITA would recognize that the

teachings in Jäger on how to cool bearings are applicable to bearings supporting a

flywheel as described in Adams. It would be obvious to a PHOSITA to

incorporate interleaved rotating fins 9 and stationary fins 12, 13 as described by

Jäger into the gyroscopic boat stabilizer of Adams to cool Adams’ flywheel

bearings 20. More particularly, it would be obvious to add rotating fins 9 as

described by Jäger to the shaft 18 of the Adams flywheel 16, and stationary fins 12,

13 as described by Jäger to the enclosure 30 in Adams. The motivation to combine

Adams and Jäger is that Adams explicitly discloses the need for a cooling device to

cool the flywheel bearings 20, and Jäger discloses a cooling device for cooling

bearings supporting a rotating shaft. [Buckner Decl. ¶26].

      The Adams/Jäger combination discloses all of the limitations of claims 1 and

14 as shown in the Claim Chart Appendix (Section X). Adams discloses a

flywheel device configured as a gyroscopic boat stabilizer to damp rolling motion

when installed on a boat. Adams, Col. 6, ll. 9-34. Adams’ gyroscopic boat

stabilizer includes a flywheel 16 within a vacuum enclosure 30 containing a below

ambient density gas (e.g., helium) and maintaining a below ambient pressure. Col.

6, l. 40 ‒ Col. 7, l. 11. Helium has a thermal conductivity more than five times



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greater than air. [Buckner Decl., ¶16]. Adams further discloses heat generating

components (bearings 20) that rotate with the flywheel 16. Col. 6, ll. 46-48;

Figs. 5, 6.

       Jäger discloses a cooling device for cooling bearings supporting a rotating

shaft 3. The cooling device in Jäger includes a first plurality of vanes (fins 9) that

rotate with the flywheel, and a second plurality of vanes (cooling fins 12, 13) fixed

relative to a housing 1. The second set of fins 12, 13 define gaps into which the

first set of fins 9 extend so that the first set of fins 9 and second set of fins 12, 13

are interleaved. Jäger also teaches that the bearings 4, 5 are positioned close to the

first set of fins 9 such that heat is transferred from the bearings 4, 5 to the first set

of fins 9, and from the first set of fins 9 to the second set of fins 12, 13. Therefore,

using interleaved fins as taught by Jäger to cool the bearings 20 in Adams’

gyroscopic boat stabilizer results in a structure that meets all of the limitations of

claim 1 and 14. Id.

       B.     Claims 2-5, 7, and 9-17 are obvious over Adams in view of Jäger
              and Common Knowledge (Ground 3)
       Claims 2 and 15 depend respectively from claims 1 and 14, which are

discussed above. Claims 2 and 15 further recite that the heat generating

component includes “at least one bearing supporting the flywheel,” and states that

the bearing has “an inner race and an outer race.” Adams discloses flywheel

bearings that generate heat during operation. The bearings have an inner race and


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an outer race. Col. 6, ll. 44-49; Col. 7, ll. 28-29; Figs 5, 6. Likewise, Jäger

discloses bearings 4, 5 supporting the flywheel, which have an inner race and an

outer race. Jäger, Fig. 1. [Buckner Decl. ¶27].

       Claims 2 and 15 further state that the “bearing is located adjacent the first

plurality of vanes such that heat flows from the inner race to the first plurality of

vanes, from the first plurality of vanes to the second plurality of vanes, and from

the second plurality of vanes to the exterior of the enclosure.” Jäger teaches the

same heat transfer path recited in claims 2 and 15. Specifically, Jäger teaches that

heat is transferred from the bearings 4, 5 to the first set of fins 9, from the first set

of fins 9 to the second set of fins 12, 13, and then to the exterior of the housing 1.

Therefore, using interleaved fins 9, 12, 13 as taught by Jäger to transfer heat from

the bearings 20 in Adams results in a structure that meets all of the limitations of

claims 2 and 15. [Buckner Decl. ¶27].

       Claims 3, 11, and 16 depend respectively from claim 2, 1, and 15. As

discussed above, the limitations of claims 2, 1, and 15 are fully disclosed by the

Adams/Jäger combination. Claims 3, 11, and 16 further recite that “the first

plurality of vanes and the second plurality of vanes are sized and spaced such that

the heat flows from the first plurality of vanes to the second plurality of vanes by

gaseous conduction.” The purpose of the interleaved fins in Jäger is to dissipate

heat that builds up due to bearing friction. A PHOSITA would understand that, in



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order to cool the flywheel bearings 20 in Adams, it is necessary (and common

sense) to space the interleaved fins close enough so that heat is transferred from the

first set of fins to the second set of fins. Otherwise there is no point in using fins 9,

12, 13. [Buckner Decl. ¶28].

      Jäger also explicitly discloses that heat is transferred between the interleaved

fins by gaseous conduction. Specifically, Jäger states that the heat transfer “is

based on both radiation and on heat transfer carried out through the gas that is

located between the cooling bodies. … In addition to the radiation, only the gas

that is present in the housing is required for the heat transport.” Col. 1, ll. 39-47.

[Buckner Decl. ¶30].

      Even without the explicit teachings of Jäger, a PHOSITA would recognize

that heat transfer by gaseous conduction would naturally occur at the operating

pressures taught by Adams. Specifically, Adams teaches that “the pressure is

preferably below 190 Torr (0.25 atmosphere), and more preferably below 7.6 Torr

(0.01 atmosphere).” Col. 7, ll. 4-6. At the pressures taught by Adams, there would

be a sufficient gas in the space between the interleaved fins so that heat transfer by

gaseous conduction would naturally occur due to the Second Law of

Thermodynamics. [Buckner Decl. ¶¶29, 32-34]; Ex. 1005.

      Petitioner’s expert, Dr. Buckner has conducted simulations to show that heat

transfer across a viscous fluid confined in a gap between two relatively rotating



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cylinders using a Taylor-Couette flow model. [Buckner Decl. ¶¶29, 33-40]; Ex.

1005. His simulations analyzed the relative amounts of heat transfer by

conduction, advection, and radiation at pressures of 760 Torr, 76 Torr, 7.6 Torr,

0.76 Torr, and 0.076 Torr. Dr. Buckner’s analysis shows that in the range of 76

Torr-0.076 Torr, a range where a flywheel devices are likely to operate, heat is

transferred by gaseous conduction. [Buckner Decl. ¶¶29, 32-34]; Ex. 1005. This

range encompasses the preferred operating pressure disclosed Adams and in the

’930 patent.

      Further, a PHOSITA would recognize that, in an interleaved fin thermal

connector for a boat stabilizer, radiation alone could not provide sufficient heat

transfer to cool the bearings in a partial vacuum as taught by Adams. Only a small

amount of heat can be transferred by radiation due to the limited surface area of the

fins and the relatively low temperature differential at desired operating

temperatures. Id. In comparison to radiation, significantly more heat can be

transferred by gaseous conduction and gaseous convection. Id. Therefore, reliance

on gaseous conduction to get significant heat transfer is almost certainly necessary.

Reliance on gaseous conduction is not simply one of several ways of transferring

heat, but rather is the only practical way to transfer significant amount of heat in a

partial vacuum. [Buckner Decl. ¶31].




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       Use of a partial vacuum environment involves a known tradeoff between

two competing design criteria in flywheel systems: reductions in aerodynamic drag

at lower gas pressures are accompanied by reductions in heat transfer by gaseous

conduction and convection. If heat transfer is an important design objective, a

PHOSITA would design the system to operate at pressures that significantly reduce

aerodynamic drag (which reduces heat generation) while providing significant heat

transfer by gaseous conduction and gaseous convection. Id. Significant reductions

in aerodynamic drag can be achieved at medium vacuum pressures, Exhibit 1038,

p. 105-16 for example, documents an 85% reduction in skin drag coefficient and a

70% reduction in viscous drag as air pressure is reduced from atmospheric, 760

Torr, to 0.01 Torr. [Buckner Decl. ¶32]. In this range, heat transfer would be

primarily by gaseous conduction and convection. Adjusting parameters such as

fin spacing, gas type, and operating pressure to optimize heat transfer by gaseous

conduction involves only routine skill. Therefore, claims 3, 11, and 16 are

obvious over the Adams/ Jäger combination. [Buckner Decl. ¶32].

      Claim 4 depends from claim 3, which as discussed above is disclosed by the

Adam/ Jäger combination. Claim 4 further recites that the below ambient density

gas in the enclosure comprises hydrogen. Adams explicitly teaches that the

enclosure is preferably maintained at below ambient pressure and contains a

below-ambient density gas. Adams, Col. 6, l. 57 – Col. 7, l. 2. The purpose of the



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below ambient density gas in Adams is to reduce aerodynamic drag. Adams

further teaches that the below-ambient density gas may comprise helium, but does

not specifically disclose using hydrogen gas. Like helium, hydrogen, is a below-

ambient density gas with a higher thermal conductivity than air. [Buckner Decl.

¶16]. Moreover, hydrogen has lower density and higher thermal conductivity than

helium. Id. It would be obvious to a PHOSITA use hydrogen as recited in claim 4

in place of helium in the Adams/Jäger combination in order to further reduce

aerodynamic drag on the flywheel in Adams. Further, a PHOSITA would

recognize that using hydrogen would increase heat transfer gaseous conduction

between the interleaved fins. Therefore, claim 4 is obvious over the Adams/ Jäger

combination. [Buckner Decl. ¶36].

      Claims 5 and 17 depend respectively from claims 3 and 16. As discussed

above, the limitations of claims 3 and 16 are disclosed by the Adams/Jäger

combination. Claims 5 and 17 further recite that the below ambient density gas

comprises helium. Adams explicitly teaches that the enclosure is preferably

maintained at below ambient pressure and contains a below-ambient density gas.

Adams, Col. 6, l. 57 – Col. 7, l. 2. The purpose of the below ambient density gas

in Adams is to reduce aerodynamic drag. Adams further teaches that the below-

ambient density gas may comprise helium as recited in claims 5 and 17. Therefore,




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claims 5 and 17 are obvious over the Adams/Jäger combination. [Buckner Decl.

¶37].

        Claim 7 depends from claim 5. As discussed above, the limitations of claim

5 are disclosed by the Adams/Jäger combination. Claim 7 further recites “a heat

sink configured such that heat flows from the second plurality of vanes to the heat

sink.” Jäger discloses a liquid-cooled sleeve 10 that functions as a heat sink.

Therefore, claim 7 is obvious over the Adams/Jäger combination. [Buckner Decl.

¶39].

        Claims 9 and 12 depend respectively from claims 1 and 11. As discussed

above, the limitations of claims 1 and 11 are disclosed by the Adams/Jäger

combination. Claims 9 and 12 further recite that “a distance between the first

plurality of vanes and the second plurality of vanes is less than 5 mm.” This

limitation is explicitly disclosed by Jäger. Specifically, Jäger teaches that the gap

between the rotating fins 9 and the stationary fins 12, 13 is between 0.1 – 0.2 mm,

which is below the maximum 5 mm spacing recited in claims 9 and 12. Jäger, Col.

3, ll. 22-30. Further, selecting the dimension of the gap between the fins to get a

desired amount of heat transfer would involve only routine skill to optimize a

known result-dependent variable. Therefore, claims 9 and 12 are obvious over the

Adams/Jäger combination. [Buckner Decl. ¶35].




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      Claim 10 depends from claim 5, which as discussed above is disclosed by

the Adams/Sibley combination. Claim 10 further recites that the pressure within

the enclosure of the boat stabilizer is less than 390 Torr. Adams explicitly teaches

that the enclosure should be maintained at pressure below 390 Torr as recited in

claim 10 in order to reduce aerodynamic drag on the flywheel. Adams, Col. 7, ll.

1-11. Therefore, claim 10 is obvious over the Adams/Jäger combination. [Buckner

Decl. ¶38].

      Claim 13 depends from claim 1, which is discussed above. Claim 13 further

recites that the stabilizer includes “a flywheel drive motor configured to spin the

flywheel about a spin axis; and a device for applying a torque to the flywheel.”

Adams’ boat roll stabilizer comprises a flywheel drive motor 24 configured to spin

a flywheel about a spin axis. Adams, Abstract; Col. 6, ll. 50-56; Figs. 5&6.

Adams’ boat stabilizer also includes a device for applying a torque to a flywheel

rotating about a gimbal axis. Adams, Col. 7, l. 62 ‒ Col. 8, l. 65 (describing

various types of torque applying devices). Thus, claim 13 is obvious over the

Adams/Jäger combination. [Buckner Decl. ¶41].

      C.      Claims 6 is obvious over Adams in view of Jäger and Common
              Knowedge, and further in view of Bimshas (Ground 4)

      Claim 6 depends from claim 5. As discussed above, the limitations of claim

5 are disclosed by the Adams/Jäger combination. Claim 6 further recites

limitations regarding geometric arrangement of the interleaved fins. Specifically,


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claim 6 recites that “the first plurality of vanes are cylindrical elements extending

in a first direction substantially parallel to the spin axis,” and that “the second

plurality of vanes are cylindrical elements extending in a second direction

substantially parallel to the spin axis and opposite the first direction.” The specific

geometric arrangement of the interleaved fins recited in claim 6 is disclosed in

Bimshas.

      As described above, Bimshas discloses a rotatable heat transfer device with

interleaved fins 12, 16 that rotate relative to one another. A first set of fins 12 is

connected to a heat source and a second set of fins 16 is connected to a heat sink.

Bimshas, Col. 2, ll. 4-16; Fig. 1. In the embodiment shown in Figure 1, the fins 12

and fins 16 are in the form of concentric cylinders and extend in a direction parallel

to the axis of relative rotation. Bimshas, Col. 2, ll. 37-39. This fin geometry is

referred to herein as the cylindrical fin geometry. In the cylindrical fin geometry,

the cooling fins 12 and cooling fins 16 extend in opposite directions. In another

embodiment shown in Figure 2, the cooling fins 12, 16 are in the form of flat

annular disks and extend in a direction perpendicular to the rotational axis.

Bimshas, Col. 2, ll. 40-50; Fig. 2. This geometry is referred to herein as the planar

disc geometry. In the planar disc fin geometry, the cooling fins 12 and cooling fins

16 extend radially outward relative to the rotational axis of the rotatable heat

transfer device.



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      It would be obvious to modify the Adams/Jäger combination to use the

cylindrical fin geometry as taught by Bimshas. Jäger uses the same planar disc fin

geometry that is disclosed in Figure 2 in Bimshas. Bimshas teaches that the planar

disc fin geometry and the cylindrical fin geometry are simply two alternative fin

geometries available to a PHOSITA. Thus, a PHOSITA would recognize that the

cylindrical fin geometry and planar disc fin geometry are interchangeable

depending on other design constraints, such as the size and shape of the enclosure.

That is, the use of cylindrical fin geometry in place of the planar disc fin geometry

is simply the substitution of one element (planar disc fin geometry) of the

Adams/Jäger with a known equivalent (cylindrical fin geometry). Id. Therefore,

claim 6 is obvious over Adams/Jäger/Bimshas combination. [Buckner Decl. ¶40].

VIII. Ground 5

      The Claim Chart Appendix (Section XII) provides a claim mapping of all

the elements of claims 1-7, and 9-17 in accordance with Ground 5.

      A.     Claims 1 and 14 are obvious over Adams in view of Bimshas and
             Common Knowledge (Ground 5)
      Adams discloses a gyroscopic roll stabilizer for a boat. Abstract; Col. 6, ll.

9-34; Figs. 1-7. The gyroscopic boat stabilizer in Adams includes a flywheel 16

and bearings 20 (i.e., heat generating elements) contained within a vacuum

enclosure 30. Col. 6, ll. 41-49; Figs. 5, 6. Adams also discloses the need for a

cooling device to cool the flywheel bearings. Adams, Col. 7, ll. 28-29 (“Provision


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for cooling the flywheel bearings may be necessary at very high tip speeds.”).

Adams, however, does not disclose any details of the bearing cooling device.

      In a closely related technology area, Bimshas discloses a rotating heat

transfer device with interleaved fins 12, 16 to transfer heat from a heat source to a

relatively rotating heat sink. Bimshas, Col. 1, ll. 29-31. Bimshas indicates that his

heat transfer device 10 can be used in an inertial guidance system to transfer heat

between relatively rotating gimbals. Id. at ll. 22-26.

      It would be obvious to a PHOSITA to use the cooling fins 12 and 16 of

Bimshas in Adams’ gyroscopic boat stabilizer. Adams explicitly discloses a need

to cool the bearings 20, but does not describe the cooling device. Adams, Col. 7,

ll. 28-29. A PHOSITA would recognize that the teachings of Bimshas are

applicable to cool bearings supporting a flywheel. A PHOSITA would be

motivated to incorporate interleaved cooling fins 12, 16 as described by Bimshas

into the gyroscopic boat stabilizer of Adams to cool Adams’ flywheel bearings 20.

More particularly, it would be obvious to a PHOSITA to add rotating fins 12 as

taught by Bimshas to the shaft 18 of the Adams flywheel 16 and stationary fins 16

as taught by Bimshas to the enclosure 30 in Adams. The motivation to combine

Adams and Bimshas is that Adams explicitly discloses the need for a cooling

device to cool the flywheel bearings 20, and Bimshas discloses a cooling device

for cooling a heat generating component (e.g. bearings).



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      The Adams/Bimshas combination discloses all of the limitations of claims 1

and 14 as shown in The Claim Chart Appendix (Section X). Adams discloses a

flywheel device supported by a gimbal and configured as a gyroscopic boat

stabilizer to damp rolling motion when installed on a boat. Col. 6, ll. 9-34. Adams’

boat stabilizer includes a flywheel 16 within an enclosure 30 containing a below

ambient density gas (e.g., helium) and maintaining a below ambient pressure.

Adams, Col. 6, ll. 40 ‒ Col. 7, l. 11. Helium has a thermal conductivity at least 5

times greater than air. [Buckner Decl. ¶16]. Adams further discloses heat

generating components (bearings 20) that rotate with the flywheel 16. Col. 6, ll.

46-48; Figs. 5, 6.

      Bimshas discloses a cooling device for cooling a heat generating component

(e.g., bearings). The cooling device in Bimshas includes a first plurality of vanes

(fins 12) in contact with the heat generating component, and a second plurality of

vanes (cooling fins 16) connected to a heat sink. Bimshas, Col. 2, ll. 4-16; Fig. 1.

The second set of fins 16 define gaps into which the first set of fins 12 extend so

that the first set of fins 12 and second set of fins 16 are interleaved. Bimshas,

Fig. 1. A PHOSITA would recognize that in order to cool the flywheel bearings 20

in Adams, it is necessary (and common sense) to position the fins 12 of Bimshas

adjacent to the bearings 20 so that heat is transferred to the fins 12. In the

Adams/Bimshas combination, heat flows by solid conduction from the heat



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generating component to the first set of fins 12. Therefore, using interleaved fins

12, 16 as taught by Bimshas to transfer heat from the bearings 20 in Adams’

gyroscopic boat stabilizer results in a structure that meets all of the limitations of

claims 1 and 14.

      B.     Claims 2-7, 9-13, and 15-17 are obvious over Adams in view of
             Bimshas and Common Knowledge (Ground 5)
      Claims 2 and 15 depend respectively from claims 1 and 14 which are

discussed above. Claims 2 and 15 further recite that the heat generating

component includes “at least one bearing supporting the flywheel,” and states that

the bearing has “an inner race and an outer race.” Adams discloses flywheel

bearings that generate heat during operation. Col. 6, ll. 44-49; Col. 7, ll. 28-29.

The flywheel bearings 20 in Adams include an inner race and an outer race as

recited in claims 2 and 15. Adams also discloses bearings 20 that generate heat

during operation. Col. 7, ll. 28-29.

      Claims 2 and 15 further state that the “bearing is located adjacent the first

plurality of vanes such that heat flows from the inner race to the first plurality of

vanes, from the first plurality of vanes to the second plurality of vanes, and from

the second plurality of vanes to the exterior of the enclosure.” Bimshas teaches the

same heat transfer path recited in claims 2 and 15. Specifically, Bimshas teaches

that heat is transferred from the heat source (e.g., bearings 20 in Adams) to the first

set of fins 12, from the first set of fins 12 to the second set of fins 16 by gaseous


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conduction, and then to a heat sink (e.g., the housing 1). Bimshas, Col. 2, ll. 4-16;

Col. 3, ll. 22-24; Fig. 1. A PHOSITA would recognize that the enclosure in

Adams could function as the heat sink to dissipate the heat to the atmosphere.

Therefore, using interleaved fins 12, 16 as taught by Bimshas to transfer heat from

the bearings 20 in Adams to the enclosure 30 results in a structure that meets all of

the limitations of claims 2 and 15. [Buckner Decl. ¶27].

      Claims 3, 11, and 16 depend respectively from claim 2, 1, and 15. As

discussed above, the limitations of claims 2, 1, and 15 are fully disclosed by the

Adams/ Bimshas combination. Claims 3, 11, and 16 further recite that “the first

plurality of vanes and the second plurality of vanes are sized and spaced such that

the heat flows from the first plurality of vanes to the second plurality of vanes by

gaseous conduction.” The purpose of the interleaved fins in Bimshas is to

dissipate heat that builds up in a heat generating component. A PHOSITA would

understand that, in order to cool the flywheel bearings 20 in Adams using the fins

12, 16 of Bimshas, it is necessary (and common sense) to space the interleaved fins

close enough so that heat is transferred from the first set of fins to the second set of

fins. Otherwise there is no point in using fins 12, 16. Further, Bimshas implicitly

discloses that heat is transferred between the interleaved fins by gaseous

conduction. Specifically, Bimshas states that “a substantially thermally efficient

gas such as helium or a liquid” could be used in the gaps between the fins 12, 16 to



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“reduce thermal impedance.” Bimshas, Col. 3, ll. 22-24. A PHOSITA would

understand the phrase “thermally efficient” to mean a gas with high thermal

conductivity. [Buckner Decl. ¶30]. Therefore, a PHOSITA would recognize that

Bimshas teaches heat transfer by gaseous conduction, otherwise, the “thermal

efficiency” of the gas would be irrelevant.

      Even without the explicit teachings of Bimshas, a PHOSITA would

recognize that heat transfer by gaseous conduction would naturally occur at the

operating pressures taught by Adams. Specifically, Adams teaches that “the

pressure is preferably below 190 Torr (0.25 atmosphere), and more preferably

below 7.6 Torr (0.01 5 atmosphere).” Col. 7, ll. 4-6. At the pressures taught by

Adams, there would be a sufficient gas in the space between the interleaved fins so

that heat transfer by gaseous conduction would naturally occur due to the Second

Law of Thermodynamics. [Buckner Decl. ¶¶29, 32-34]; Ex. 1005.

      Petitioner’s expert, Dr. Buckner, has conducted simulations to show that

heat transfer across a viscous fluid confined in a gap between two relatively

rotating cylinders using a Taylor-Couette flow model. [Buckner Decl. ¶¶29, 33-

34]; Ex. 1005. His simulations analyzed the relative amounts of heat transfer by

conduction, advection, and radiation at pressures of 760 Torr, 76 Torr, 7.6 Torr,

0.76 Torr, and 0.076 Torr. Dr. Buckner’s analysis shows that in the range of 76

Torr-0.076 Torr, a range where flywheel devices are likely to operate, heat is



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transferred by gaseous conduction. [Buckner Decl. ¶¶29, 32-34]; Ex. 1005. This

range encompasses the preferred operating pressure disclosed Adams and in the

’930 patent.

      Further, a PHOSITA would recognize that, in an interleaved fin thermal

connector for a boat stabilizer, radiation alone could not provide sufficient heat

transfer to cool the bearings in a partial vacuum as taught by Adams. Only a small

amount of heat can be transferred by radiation due to the limited surface area of the

fins and the relatively low temperature differential at desired operating

temperatures. Id. In comparison to radiation, significantly more heat can be

transferred by gaseous conduction and gaseous convection. Id. Therefore, reliance

on gaseous conduction to get significant heat transfer is almost certainly necessary.

Reliance on gaseous conduction is not simply one of several ways of transferring

heat, but rather is the only practical way to transfer significant amount of heat in a

partial vacuum. [Buckner Decl. ¶31].

      Use of a partial vacuum environment involves a known tradeoff between

two competing design criteria in flywheel systems: reductions in aerodynamic drag

at lower gas pressures are accompanied by reductions in heat transfer by gaseous

conduction and convection. If heat transfer is an important design objective, a

PHOSITA would design the system to operate at pressures that significantly reduce

aerodynamic drag (which reduces heat generation) while providing significant heat



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transfer by gaseous conduction and gaseous convection. Id. Significant reductions

in aerodynamic drag can be achieved at medium vacuum pressures, Exhibit 1038,

p. 105-16 for example, documents an 85% reduction in skin drag coefficient and a

70% reduction in viscous drag as air pressure is reduced from atmospheric, 760

Torr, to 0.01 Torr. [Buckner Decl. ¶32]. In this range, heat transfer would be

primarily by gaseous conduction and convection. Adjusting parameters such as fin

spacing, gas type, and operating pressure to optimize heat transfer by gaseous

conduction involves only routine skill. Therefore, claims 3, 11, and 16 are

obvious over the Adams/Bimshas combination. [Buckner Decl. ¶32].

      Claim 4 depends from claim 3, which as discussed above is disclosed by the

Adam/Bimshas combination. Claim 4 further recites that the below-ambient

density gas in the enclosure comprises hydrogen. Adams explicitly teaches that the

enclosure is preferably maintained at below ambient pressure and contains a

below-ambient density gas. Adams, Col. 6, l. 57 – Col. 7, l. 2. The purpose of the

below ambient density gas in Adams is to reduce aerodynamic drag. Adams

further teaches that the below-ambient density gas may comprise helium, but does

not specifically disclose using hydrogen gas. Like helium, hydrogen is a below-

ambient density gas with a higher thermal conductivity than air. [Buckner Decl.

¶16]. Moreover, hydrogen has lower density and higher thermal conductivity than

helium. Id. It would be obvious to a PHOSITA use hydrogen as recited in claim 4



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in place of helium in the Adams/Bimshas combination in order to further reduce

aerodynamic drag on the flywheel in Adams. Further, a PHOSITA would

recognize that using hydrogen would increase heat transfer gaseous conduction

between the interleaved fins. Therefore, claim 4 is obvious over the

Adams/Bimshas combination. [Buckner Decl. ¶36].

      Claims 5 and 17 depend respectively from claims 3 and 16. As discussed

above, the limitations of claims 3 and 16 are disclosed by the Adams/Bimshas

combination. Claims 5 and 17 further recite that the below ambient density gas

comprises helium. Adams explicitly teaches that the enclosure is preferably

maintained at below ambient pressure and contains a below-ambient density gas.

Adams, Col. 6, l. 57 – Col. 7, l. 2. The purpose of the below ambient density gas

in Adams is to reduce aerodynamic drag. Adams further teaches that the below-

ambient density gas may comprise helium as recited in claims 5 and 17. Therefore,

claims 5 and 17 are obvious over the Adams/Bimshas combination. [Buckner

Decl. ¶37].

      Claim 6 depends from claim 5. As discussed above, the limitations of claim

5 are disclosed by the Adams/Jäger combination. Claim 6 further recites that “the

first plurality of vanes are cylindrical elements extending in a first direction

substantially parallel to the spin axis,” and that “the second plurality of vanes are

cylindrical elements extending in a second direction substantially parallel to the



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spin axis and opposite the first direction.” The specific geometric arrangement of

the interleaved fins recited in claim 6 is disclosed in Bimshas. Specifically,

Bimshas discloses that the fins 12, 16 may be in the form of concentric cylinders

and extend in opposite directions parallel to the axis of rotation. Bimshas, Col. 2,

ll. 4-16; Fig. 1. Bimshas teaches that the cylindrical fin geometry is essentially one

of two ways to arrange the fins. A PHOSITA would recognize that the cylindrical

fin geometry and planar disc fin geometry taught by Bimshas are interchangeable

depending on other design constraints, such as the size and shape of the enclosure.

Selecting between to alternative designs based on design constraints would involve

only routine skill. Therefore, claim 6 is obvious over the Adams/Bimshas

combination. [Buckner Decl. ¶40].

      Claim 7 depends from claim 5. As discussed above, the limitations of claim

5 are disclosed by the Adams/Bimshas combination. Claim 7 further recites “a

heat sink configured such that heat flows from the second plurality of vanes to the

heat sink.” Bimshas teaches that the second fins 16 transfers heat to a heat sink.

Col. 1, l. 29-44; Col. 2, ll. 11-13. Therefore, claim 7 is obvious over the

Adams/Bimshas combination. [Buckner Decl. ¶39].

      Claims 9 and 12 depend respectively from claims 1 and 11. As discussed

above, the limitations of claims 1 and 11 are disclosed by the Adams/Bimshas

combination. Claims 9 and 12 further that “a distance between the first plurality of



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vanes and the second plurality of vanes is less than 5 mm.” This limitation is

explicitly disclosed by Bimshas. In Bimshas, the gap between the fins 12 and

second set of fins 16 is between .005 inches (.127 mm) and .007 inches (.178 mm),

which is below the maximum 5 mm spacing recited in claims 9 and 12. Bimshas,

Col. 2, ll. 20-26. Further, selecting the dimension of the gap between the fins to

get a desired amount of heat transfer would involve only routine skill to optimize a

known result-dependent variable. Therefore, claims 9 and 12 are obvious over the

Adams/Bimshas combination. [Buckner Decl. ¶35].

      Claim 10 depends from claim 5, which as discussed above is disclosed by

the Adams/Sibley combination. Claim 10 further recites that the pressure within

the enclosure of the boat stabilizer is less than 390 Torr. Adams explicitly teaches

that the enclosure should be maintained at pressure below 390 Torr as recited in

claim 10 in order to reduce aerodynamic drag on the flywheel. Adams, Col. 7, ll.

1-11. Therefore, claim 10 is obvious over the Adams/Bimshas combination.

[Buckner Decl. ¶38].

      Claim 13 depends from claim 1, which is discussed above. Claim 13 further

recites that the stabilizer includes “a flywheel drive motor configured to spin the

flywheel about a spin axis; and a device for applying a torque to the flywheel.”

Adams’ boat roll stabilizer comprises a flywheel drive motor 24 configured to spin

a flywheel about a spin axis. Adams, Abstract; Col. 6, ll. 50-56; Figs. 5&6.



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Adams’ boat stabilizer also includes a device for applying a torque to a flywheel

rotating about a gimbal axis. Adams, Col. 7, l. 62 ‒ Col. 8, l. 65 (describing

various types of torque applying devices). Thus, claim 13 is obvious over the

Adams/Bimshas combination. [Buckner Decl. ¶41].

IX.   Ground 6

      The Claim Chart Appendix (Section X) provides a claim mapping of all the

elements of claim 8 in accordance with Ground 6.

      A.     Claim 8 is obvious over Adams in view of Jäger, Bimshas and
             Common Knowledge, and further in view of Sibley (Ground 6)
      Claim 8 depends from claim 7, which is discussed in sections VI, B and VII,

B above. Claim 8 further recites the heat sink comprising air-cooled fans on the

exterior of the enclosure. Sibley expressly teaches of air-cooled fins 452 on an

exterior of the enclosure 448 functioning as a heat sink. Sibley, [0144]. It would be

obvious to use the enclosure 30 of Adams as a heat sink and to have air-cooled fins

on the enclosure as taught by Sibley. The reasons to do so is for the same reasons

Sibley includes air-cooled fins: to improve heat transfer from the bearings.

Therefore, claim 8 is obvious over Adams, in view of Jäger and Bimshas, and

further in view of Sibley.

IX. Conclusion

      Petitioner respectfully submits that this petition shows a reasonable

likelihood that Petitioner will prevail with respect to at least one of the claims of


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the ’930 patent for which Petitioner seeks review. Petitioner requests the PTAB

grant this Petition and initiate inter partes review to find claims 1-17 to be invalid.




                                        Respectfully submitted,
                                        COATS & BENNETT, COL.L.L.C.




Dated:       August 10, 2017            David E. Bennet
                                        Registration No.: 32,194

                                        Brandee N. Woolard
                                        Registration No.: 68,795




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      X. Claim Chart Appendix

Patent US 8,117,930                                Adams, Bimshas, Sibley, & Jäger
1. A gyroscopic roll stabilizer for a boat,        Adams and Sibley suggest
the stabilizer comprising:                         applications for a gyroscopic roll
                                                   stabilizer for a boat.

                                                   Adams discloses a gyroscopic roll
                                                   stabilizer for a boat including a
                                                   flywheel. Abstract; Col. 6:9-40; Col.
                                                   9:4-55 (describing operation of
                                                   stabilizer); Figs. 8-10.

                                                   Sibley discloses that the enclosure
                                                   may be supported within gimbals or
                                                   in soft elastomeric rings to minimize
                                                   gyroscopic maneuvering loads on the
                                                   bearings when the disclosed flywheel
                                                   energy storage system is used in
                                                   vehicular applications. [0164].

a flywheel, the flywheel being configured          Adams discloses a flywheel 16 that
to be spun about a spin axis;                      spins around a spin axis. Abstract;
                                                   Col. 6:40-55; Figs. 5, 6.

                                                   Sibley discloses a flywheel 412 that
                                                   spins about an axis. [0129-0134];
                                                   Fig. 4.

a first plurality of vanes coupled to the          Bimshas discloses a first relatively
flywheel such that the first plurality of          rotating member 10 including a first
vanes spin with the flywheel relative to an        set of fins 12. Col. 2:4-26; Fig. 1.
enclosure;
                                                   Sibley discloses a first set of fins 438
                                                   attached to a rotating shaft 416 for
                                                   the flywheel 412. [0140-0142]; Fig.
                                                   4.

                                                   Jäger discloses a first set of fins 9


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                                                 connected to a rotating shaft 3 to
                                                 dissipate heat due to bearing friction.
                                                 Col. 1:36-45; Col. 2:51-Col. 3:15;
                                                 Fig. 1.

a second plurality of vanes fixed relative to    Bimshas discloses a second set of
the enclosure and the flywheel such that         fins 16 connected to a heat sink (e.g.,
the first plurality of vanes spin with respect   an enclosure). The second set of fins
to the second plurality of vanes, the second     16 define gaps to receive the first set
plurality of vanes defining gaps into which      of fins 12. The first and second sets
the first plurality of vanes extend so that      of fins 12, 16 are interleaved. Col.
the first and second plurality of vanes are      1:37-45; Col. 2:11-13; Figs. 1-4.
interleaved; the second plurality of vanes
defining gaps into which the first plurality     Sibley discloses a second set of fins
of vanes extend so that the first and second     440 that extend from the vacuum
plurality of vanes are interleaved;              enclosure 448 (“clam-shell type set
                                                 of stationary heat transfer fins”). The
                                                 second set of fins 440 define gaps to
                                                 receive the first set of fins 438. The
                                                 first and second sets of fins 438, 440
                                                 are interleaved. [0142]; Fig. 4.

                                                 Jäger discloses a second set of fins
                                                 12, 13 connected to the housing 1.
                                                 Fins 12, 13 define gaps to receive the
                                                 fins 9 connected to the rotating shaft.
                                                 Fins 12, 13 are interleaved with fins
                                                 9. Col. 3:16-30; Fig. 1.

at least one rotating heat generating            Adams discloses bearings 20
component coupled to the flywheel and            supporting the flywheel 16. Col.
positioned such that heat is transferred         6:41-49; Figs. 5&6. Adams further
from the heat generating component to the        discloses that the bearing 20
first plurality of vanes;                        generates heat. Col. 7:28-29
                                                 (“Provision for cooling the flywheel
                                                 bearings may be necessary at very
                                                 high tip speeds.”).




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                                              Bimshas discloses that relatively
                                              rotating member 10 connects to a
                                              heat source (i.e., heat generating
                                              component) so that heat is transferred
                                              from the heat source to the first set of
                                              fins 12. Col. 1, ll. 30-45; Col. 2:4-10.
                                              The heat transfer device may be used
                                              in an inter-gimbal assembly of an
                                              inertial guidance system to provide a
                                              heat path between relatively rotating
                                              gimbals. Col. 1:22-32.

                                              Sibley discloses a bearing assembly
                                              436 (i.e., heat generating
                                              component). Heat is transferred from
                                              the bearing assembly 436 to the
                                              cooling fins 438. [134]; [0140-
                                              0143]; Fig. 4.

                                              Jäger discloses bearings 4,5
                                              supporting a rotating shaft. Heat
                                              generated due to bearing friction is
                                              transferred to the first set of fins 9.
                                              Col. 4:4-11.

the enclosure surrounding the first plurality Sibley discloses that cooling fins 438
of vanes, the second plurality of vanes,      and stationary fins 440 are inside the
                                              vacuum enclosure 448. [0140-142];
                                              Fig. 4.

                                              Jäger discloses that cooling fins 9
                                              and cooling fins 12, 13 are within a
                                              housing 1. Abstract; Fig. 1.

the heat generating component, and a          Adams discloses an enclosure 30
portion or all of the flywheel,               surrounding the flywheel 16 and
                                              bearings 20 (i.e., heat generating
                                              components). Fig. 5; Col. 3:55-56;
                                              Col. 6:55-Col. 7:11; Figs. 5&6.



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                                             Sibley discloses an enclosure 448
                                             surrounding the shaft 416, bearing
                                             assembly 436, and flywheel 412 to
                                             provide a high vacuum environment
                                             to minimize heat generation and
                                             frictional losses as the flywheel 412
                                             rotates. [0133-0134]; Fig. 4.

the enclosure containing a below-ambient     Adams, Bimshas, Sibley and Jäger
density gas and maintaining a below-         disclose that the enclosure can be
ambient pressure, wherein the below          filled with a below-ambient density
ambient density gas has a thermal            gas and maintained at below-ambient
conductivity at least 5 times greater than   pressure.
air; and
                                             Adams discloses that enclosure 30
                                             contains helium (a below ambient
                                             density gas) and is maintained at
                                             below-ambient pressure. Col. 6:56-
                                             Col. 7:11. The thermal conductivity
                                             of helium is more than 5 times
                                             greater than air. [Buckner Decl.
                                             ¶16].

                                             Bimshas discloses that the gaps
                                             between interleaved fins may be filed
                                             with helium. Col. 3:22-25. The
                                             thermal conductivity of helium is
                                             more than 5 times greater than air.
                                             [Buckner Decl. ¶16].

                                             Sibley discloses a vacuum enclosure
                                             448 maintained at below ambient
                                             pressure to minimize heat generation
                                             and frictional losses as the flywheel
                                             412 rotates. [0133]; Fig. 4.

                                             Jäger teaches that the casing
                                             surrounding the shaft may be filled


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                                               with air or another gas. Col. 1:33-35.
                                               Helium is known to have a higher
                                               thermal conductivity than air, so it
                                               would be obvious to use helium as
                                               the gas in the enclosure to increase
                                               thermal conduction which would
                                               result in the enclosure containing gas
                                               at below-ambient density.

wherein the flywheel, the first plurality of   Adams discloses a gyroscopic roll
vanes, the second plurality of vanes, the      stabilizer for a boat including a
heat generating component, the enclosure,      flywheel. The flywheel, enclosure
and the gimbal structure are configured so     and gimbal structure of the stabilizer
that, when installed in the boat, the          are configured so that when installed
stabilizer damps roll motion of the boat.      in the boat the stabilizer damps roll
                                               motion of the boat. Abstract; Col.
                                               6:9-18; Col. 9:4-55; Figs. 1-3, 8.

                                               Sibley discloses that the enclosure
                                               may be supported within gimbals or
                                               in soft elastomeric rings to deflect to
                                               minimize gyroscopic maneuvering
                                               loads on the bearings when the
                                               disclosed flywheel energy storage
                                               system is used in vehicular
                                               applications. [0164].

2. The stabilizer of claim 1 wherein: the      Adams discloses a bearing 20 having
heat generating component includes at          an inner race and an outer race. Col.
least one bearing supporting the flywheel,     6, ll. 44-49; Figs. 5&6. Adams
the bearing having an inner race and an        further discloses that the bearing 20
outer race; and                                generates heat. Col. 7:28-29
                                               (“Provision for cooling the flywheel
                                               bearings may be necessary at very
                                               high tip speeds.”).

                                               Sibley discloses a bearing 436
                                               including an inner race 446, an outer
                                               race 444, and a bearing ball 442. The



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                                                  bearing 436 supports a rotating shaft
                                                  for a flywheel. [0134]; Fig. 4.

                                                  Jäger discloses roller bearings 4, 5
                                                  with an inner race and an outer race.
                                                  The bearing 4, 5 support a rotating
                                                  shaft. Col. 2:44-50; Col. 4:4-11; Fig.
                                                  1.


the bearing is located adjacent the first         In Sibley, the cooling fins 438 and
plurality of vanes such that heat flows from      inner ring 446 of bearing assembly
the inner race to the first plurality of vanes,   436 are arranged about a shaft 416 to
from the first plurality of vanes to the          transfer heat from the bearing
second plurality of vanes, and from the           assembly 436 to a second set of
second plurality of vanes to the exterior of      cooling fins 440 and then to outside
the enclosure.                                    of the vacuum enclosure. [0134],
                                                  [0142-0144]; Figs. 4, 24.

                                                  In Jäger, the first set of fins 9 are
                                                  arranged to dissipate heat from the
                                                  inner race of the bearings 4, 5 and
                                                  from the shaft (spinning member) to
                                                  a second set of fins 12, 13 and then to
                                                  the outside the housing 1. Fig. 1;
                                                  Col. 4:4-10.

3. The stabilizer of claim 2 wherein the          Sibley, Bimshas, and Jäger disclose
first plurality of vanes and the second           interleaved fins with gaps between
plurality of vanes are sized and spaced           the fins for permitting heat flow by
such that heat flows from the first plurality     gaseous conduction.
of vanes to the second plurality of vanes by
gaseous conduction.                               Bimshas discloses that the gap
                                                  between fins is between .005-.007
                                                  inches (.127 -.178 mm). Col. 2:23-
                                                  26. Bimshas implicitly discloses that
                                                  heat transfer is by gaseous
                                                  conduction. (“Also, to further reduce
                                                  thermal impedance, a substantially
                                                  thermally efficient gas such as


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                                                helium or a liquid could be provided
                                                under pressure within the gaps. “)

                                                Jäger discloses a gap between fins of
                                                0.1 – 0.2 mm. Col. 3:22-30.
                                                Further, Jäger discloses that the heat
                                                transfer “is based on both radiation
                                                and on heat transfer carried out
                                                through the gas that is located
                                                between the cooling bodies.” Col.
                                                1:39-47.

                                                At the operating pressures taught in
                                                Dams, heat is inherently transferred
                                                between the fins by gaseous
                                                conduction in Sibley, Bimshas, and
                                                Jäger. [Buckner Decl. ¶¶29, 38-40].

4. The stabilizer of claim 3 wherein the        Adams discloses that a below
below-ambient density gas is hydrogen.          ambient density gas could be used.
                                                Col. 6:62-65. Hydrogen is a below
                                                ambient density gas.

                                                Bimshas discloses that a thermally
                                                efficient gas could be used in the
                                                gaps between the fins. Col. 3:22-24.
                                                It is known that hydrogen is more
                                                thermally conductive than either air
                                                or helium.

                                                Jäger teaches that the space between
                                                the rotating surfaces may be filled
                                                with air or another gas. Hydrogen is
                                                known to have a higher thermal
                                                conductivity than air or helium, so it
                                                would be obvious to use hydrogen as
                                                the other gas to increase thermal
                                                conduction.




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5. The stabilizer of claim 3 wherein the        Adams discloses an enclosure
below-ambient density gas includes              containing helium (a below ambient
helium.                                         density gas). Col. 6:56-Col. 7:11.

                                                Bimshas discloses that the gaps
                                                between interleaved fins may be filed
                                                with helium. Col. 3:22-25.

                                                Jäger teaches that the casing
                                                surrounding the shaft may be filled
                                                with air or another gas. Col. 1:33-35.
                                                Helium is known to have a higher
                                                thermal conductivity than air, so it
                                                would be obvious to use helium as
                                                the other gas to increase thermal
                                                conduction.

6. The stabilizer of claim 5 wherein: the       Bimshas discloses the geometric
first plurality of vanes are cylindrical        arrangement of the vanes/fins recited
elements extending in a first direction         in claim 6.
substantially parallel to the spin axis;
the second plurality of vanes are               Fig. 1 of Bimshas discloses that the
cylindrical elements extending in a second      first fins 12 and second fins 16 are
direction substantially parallel to the spin    cylindrical and extend in opposite
axis and opposite the first direction.          directions parallel to the shaft axis.
                                                Col. 2:17-18, 37-39; Fig. 1.

7. The stabilizer of claim 5 further            Bimshas, Sibley, and Jäger disclose
comprising a heat sink configured such          a heat transfer path from the second
that heat flows from the second plurality of    set of fins (vanes) to the exterior of
vanes to the heat sink.                         an enclosure or heat sink.

                                                Bimshas teaches that the second fins
                                                16 transfers heat to a heat sink. Col.
                                                1:29-44; Col. 2:11-13.

                                                Sibley teaches that the enclosure 448,
                                                and the fins 452 on the enclosure
                                                function as a heat sink. Fig. 4;



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                                                 [0144].

                                                 Jäger discloses that the fins 12 and
                                                 13 transfer heat to a liquid cooled
                                                 sleeve 10 that functions as a heat
                                                 sink. Col. 3:16-Col. 4:1; Fig. 1.

8. The stabilizer of claim 7 wherein the         Sibley discloses air-cooled fins 452
heat sink comprises air-cooled fins on the       on an exterior of the enclosure 448
exterior of the enclosure.                       functioning as a heat sink. [0144].

9. The stabilizer of claim 5 wherein a           Bimshas discloses that the gap
distance between the first plurality of          between fins is between .005-.007
vanes and the second plurality of vanes is       inches (.127 -.178 mm). Col. 2:23-
less than 5 mm.                                  26.

                                                 Jäger discloses a gap between fins of
                                                 0.1 – 0.2 mm. Col. 3:22-30.

                                                 The distance between the fins is a
                                                 known result-effective variable that
                                                 is important to heat transfer.

10. The stabilizer of claim 5 wherein the        Adams discloses that the enclosure
enclosure maintains a below-ambient              may maintain a below-ambient
pressure of less than 390 torr (0.5              pressure (e.g., <190, <7.6, or <1
atmosphere).                                     Torr). Col. 4:28-31; Col 7:2-11.

                                                 Sibley discloses that the flywheel
                                                 energy storage system of Fig. 4 can
                                                 be in a “high vacuum environment.”
                                                 [0133]. A high vacuum is commonly
                                                 understood to be significantly less
                                                 than 390 Torr.

11. The stabilizer of claim 1 wherein the        Sibley, Bimshas, and Jäger disclose
first plurality of vanes and the second          interleaved fins with gaps between
plurality of vanes are sized and spaced          the fins for permitting heat flow by
such that heat flows from the first plurality    gaseous conduction.
of vanes to the second plurality of vanes by


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gaseous conduction.                            Bimshas discloses that the gap
                                               between fins is between .005-.007
                                               inches (.127 -.178 mm). Col. 2:23-
                                               26. Bimshas implicitly discloses that
                                               heat transfer is by gaseous
                                               conduction. (“Also, to further reduce
                                               thermal impedance, a substantially
                                               thermally efficient gas such as
                                               helium or a liquid could be provided
                                               under pressure within the gaps.”)


                                               Jäger discloses a gap between fins of
                                               0.1 – 0.2 mm. Col. 3:22-30. Further,
                                               Jäger discloses that the heat transfer
                                               “is based on both radiation and on
                                               heat transfer carried out through the
                                               gas that is located between the
                                               cooling bodies.” Col. 1:39-47.

                                               At the operating pressures taught in
                                               Dams, heat is inherently transferred
                                               between the fins by gaseous
                                               conduction in Sibley, Bimshas, and
                                               Jäger. [Buckner Decl. ¶¶29, 38-40]

12. The stabilizer of claim 11 wherein a       Bimshas discloses that the gap
distance between the first plurality of        between fins is between .005 (.127
vanes and the second plurality of vanes is     mm) to .007 (.178 mm) inches. Col.
less than 5 mm.                                2:23-26.

                                               Jäger discloses a gap between fins of
                                               0.1 – 0.2 mm. Col. 3:26-30.

13. The stabilizer of claim 1 further          Adams discloses a flywheel drive
comprising: a flywheel drive motor             motor 24 configured to spin a
configured to spin the flywheel about a        flywheel about a spin axis. Abstract;
spin axis; and                                 Col. 6:50-56; Figs. 5&6.




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                                               Sibley discloses a flywheel drive
                                               motor 414 configured to spin a
                                               flywheel about a spin axis. [0134];
                                               Fig. 4.

a device for applying a torque to the          Adams discloses a device for
flywheel.                                      applying a torque to a flywheel
                                               rotating about a gimbal axis. Col.
                                               7:62-Col. 8:65 (describing various
                                               types of torque applying devices).

                                               Sibley discloses that the enclosure
                                               containing the flywheel may be
                                               supported within gimbals to deflect
                                               gyroscopic maneuvering loads.
                                               [0164].

14. A method of stabilizing a boat, the        Adams and Sibley suggest
method comprising:                             applications for a gyroscopic roll
                                               stabilizer for a boat.

                                               Adams discloses a gyroscopic roll
                                               stabilizer for a boat including a
                                               flywheel. Abstract; Col. 6:9-40; Col.
                                               9:4-55 (describing operation of
                                               stabilizer); Figs. 8-10.

                                               Sibley discloses that the enclosure
                                               may be supported within gimbals or
                                               in soft elastomeric rings to deflect to
                                               minimize gyroscopic maneuvering
                                               loads on the bearings when the
                                               disclosed flywheel energy storage
                                               system is used in vehicular
                                               applications. [0164].

spinning a flywheel about a spin axis;         Adams discloses a flywheel 16 that
                                               spins around a spin axis. Abstract;
                                               Col. 6:40-55; Figs. 5, 6.



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                                               Sibley discloses a flywheel 412 that
                                               spins about an axis. [0129-0134];
                                               Fig. 4.

permitting flywheel precession;                Adams and Sibley disclose that the
                                               flywheel precesses.

                                               Adams discloses a gimbal structure
                                               configured to permit flywheel
                                               precession about a gimbal axis.
                                               Abstract; Col 7:46-61; Col. 9:18-24;
                                               Figs. 10A-10E.

                                               Sibley discloses that the enclosure
                                               may be supported within gimbals or
                                               in soft elastomeric rings to deflect to
                                               minimize gyroscopic maneuvering
                                               loads on the bearings when the
                                               disclosed flywheel energy storage
                                               system is used in vehicular
                                               applications. [0164].


spinning a first plurality of vanes with the   Bimshas discloses a first relatively
flywheel relative to an enclosure,             rotating member 10 including a first
                                               set of fins 12. Col. 2:4-26; Fig. 1.

                                               Sibley discloses a first set of fins 438
                                               attached to a rotating shaft 416 for
                                               the flywheel 412. [0142]; Fig. 4.

                                               Jäger discloses a first set of fins 9
                                               connected to a rotating shaft 3 to
                                               dissipate heat due to bearing friction.
                                               Col. 1:36-45; Col. 2:51-Col. 3:15;
                                               Fig. 1.

wherein at least one rotating heat             Adams discloses bearings 20
generating component is positioned such        supporting the flywheel 16. Col.
that heat is transferred from the heat         6:41-49; Figs. 5&6. Adams further


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generating component to the first plurality    discloses that the bearing 20
of vanes;                                      generates heat. Col. 7:28-29
                                               (“Provision for cooling the flywheel
                                               bearings may be necessary at very
                                               high tip speeds.”).

                                               Bimshas discloses that relatively
                                               rotating member 10 connects to a
                                               heat source (i.e., heat generating
                                               component) so that heat is transferred
                                               from the heat source to the first set of
                                               fins 12. Col. 1:30-45; Col. 2:4-10.
                                               The heat transfer device may be used
                                               in an intergimbal assembly of an
                                               inertial guidance system to provide a
                                               heat path between relatively rotating
                                               gimbals. Col. 1:22-32.

                                               Sibley discloses a bearing assembly
                                               436 (i.e., heat generating
                                               component). Heat is transferred from
                                               the bearing assembly 436 to the
                                               cooling fins 438. [134]; [0140-
                                               0143]; Fig. 4.

                                               Jäger discloses bearings 4, 5
                                               supporting a rotating shaft. Heat
                                               generated due to bearing friction is
                                               transferred to the first set of fins 9.
                                               Col. 4:4-11.

maintaining a second plurality of vanes        Bimshas discloses a second set of
fixed relative to the enclosure and the        fins 16 connected to a heat sink (e.g.,
flywheel such that the first plurality of      an enclosure). The second set of fins
vanes spin with respect to the second          16 define gaps to receive the first set
plurality of vanes, the second plurality of    of fins 12. The first and second sets
vanes defining gaps into which the first       of fins 12, 16 are interleaved. Col.
plurality of vanes extend so that the first    1:37-45; Col. 2:11-13; Figs. 1-4.
and second plurality of vanes are


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interleaved; and                               Sibley discloses a second set of fins
                                               440 that extend from the vacuum
                                               enclosure 448 (“clam-shell type set
                                               of stationary heat transfer fins”). The
                                               second set of fins 440 define gaps to
                                               receive the first set of fins 438. The
                                               first and second sets of fins 438, 440
                                               are interleaved. [0142]; Fig. 4.

                                               Jäger discloses a second set of fins
                                               12, 13 connected to the housing 1.
                                               Fins 12, 13 define gaps to receive the
                                               fins 9 connected to the rotating shaft.
                                               Fins 12, 13 are interleaved with fins
                                               9. Col. 3:16-30; Fig. 1.

wherein the enclosure surrounds the first      Sibley discloses that cooling fins 438
plurality of vanes, the second plurality of    and stationary fins 440 are inside the
vanes,                                         vacuum enclosure 448. [0140-0142];
                                               Fig. 4.

                                               Jäger discloses that cooling fins 9
                                               and cooling fins 12, 13 are within a
                                               housing 1. Abstract; Fig. 1.

the heat generating component, and a           Adams discloses an enclosure 30
portion or all of the flywheel,                surrounding the flywheel 16 and
                                               bearings 20 (i.e., heat generating
                                               components). Fig. 5; Col. 3:55-56;
                                               Col. 6:55-Col. 7:11; Figs. 5&6.

                                               Sibley discloses an enclosure 448
                                               surrounding the shaft 416, bearing
                                               assembly 436, and flywheel 412 to
                                               provide a high vacuum environment
                                               to minimize heat generation and
                                               frictional losses as the flywheel 412
                                               rotates. [0133-0134]; Fig. 4.

the enclosure containing a below-ambient       Adams discloses that enclosure 30


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density gas and maintaining a below-              contains helium (a below ambient
ambient pressure, wherein the below               density gas) and is maintained at
ambient density gas has a thermal                 below-ambient pressure. Col. 6:56-
conductivity at least 5 times greater than        Col. 7:11.
air.
                                                  Bimshas discloses that the gaps
                                                  between interleaved fins may be filed
                                                  with helium. Col. 3:22-25.

                                                  Sibley discloses a vacuum enclosure
                                                  448 maintained at below ambient
                                                  pressure to minimize heat generation
                                                  and frictional losses as the flywheel
                                                  412 rotates. [0133]; Fig. 4.

                                                  Jäger teaches that the casing
                                                  surrounding the shaft may be filled
                                                  with air or another gas. Col. 1:33-35.
                                                  Helium is a below-ambient density
                                                  gas and is known to have a
                                                  conductivity 5 times greater than air,
                                                  so it would be obvious to use helium
                                                  as the gas in the enclosure.


15. The method of claim 14 wherein: the           Adams discloses a bearing 20 having
heat generating component includes at             an inner race and an outer race. Col.
least one bearing supporting the flywheel,        6:44-49; Figs 5&6. Adams further
the bearing having an inner race and an           discloses that the bearing 20
outer race; and                                   generates heat. Col. 7:28-29
                                                  (“Provision for cooling the flywheel
                                                  bearings may be necessary at very
                                                  high tip speeds.”).

                                                  Sibley discloses a bearing 436
                                                  including an inner race 446, an outer
                                                  race 444, and a bearing ball 442. The
                                                  bearing 436 supports a rotating shaft
                                                  for a flywheel. [0134]; Fig. 4.


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                                                  Jäger discloses roller bearings 4, 5
                                                  with an inner race and an outer race.
                                                  The bearing 4, 5 support a rotating
                                                  shaft. Col. 2:44-50; Col. 4:4-11; Fig.
                                                  1.

the bearing is located adjacent the first         In Sibley, the cooling fins 438 and
plurality of vanes such that heat flows from      inner ring 446 of bearing assembly
the inner race to the first plurality of vanes,   436 are arranged about a shaft 416 to
from the first plurality of vanes to the          transfer heat from the bearing
second plurality of vanes, and from the           assembly 436 to a second set of
second plurality of vanes to the exterior of      cooling fins 440 and then to outside
the enclosure.                                    of the vacuum enclosure. [0134],
                                                  [0142-0144]; Figs. 4, 24.

                                                  In Jäger, the first set of fins 9 are
                                                  arranged to dissipate heat from the
                                                  inner race of the bearings 4, 5 and
                                                  from the shaft (spinning member) to
                                                  a second set of fins 12, 13 and then to
                                                  the outside the housing 1. Fig. 1;
                                                  Col. 4:4-10.

16. The method of claim 15 wherein the            Sibley, Bimshas, and Jäger disclose
first plurality of vanes and the second           interleaved fins with gaps between
plurality of vanes are sized and spaced           the fins for permitting heat flow by
such that heat flows from the first plurality     gaseous conduction.
of vanes to the second plurality of vanes by
gaseous conduction.                               Bimshas discloses that the gap
                                                  between fins is between .005-.007
                                                  inches (.127 -.178 mm). Col. 2:23-
                                                  26. Bimshas implicitly discloses that
                                                  heat transfer is by gaseous
                                                  conduction. (“Also, to further reduce
                                                  thermal impedance, a substantially
                                                  thermally efficient gas such as
                                                  helium or a liquid could be provided
                                                  under pressure within the gaps.”)


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                                              Jäger discloses a gap between fins of
                                              0.1 – 0.2 mm. Col. 3:22-30. Further,
                                              Jäger discloses that the heat transfer
                                              “is based on both radiation and on
                                              heat transfer carried out through the
                                              gas that is located between the
                                              cooling bodies” Col. 1:39-47.

                                              At the operating pressures taught in
                                              Dams, heat is inherently transferred
                                              between the fins by gaseous
                                              conduction in Sibley, Bimshas, and
                                              Jäger. [Buckner Decl. ¶¶29, 38-40]

17. The method of claim 16 wherein the        Adams discloses an enclosure
below-ambient density gas includes            containing helium (a below ambient
helium.                                       density gas). Col. 6:56-Col. 7:11.

                                              Bimshas discloses that the gaps
                                              between interleaved fins may be filed
                                              with helium. Col. 3:22-25.

                                              Jäger teaches that the casing
                                              surrounding the shaft may be filled
                                              with air or another gas. Col. 1:33-35.
                                              Helium is a below-ambient density
                                              gas and is known to have a
                                              conductivity 5 times greater than air,
                                              so it would be obvious to use helium
                                              as the other gas to increase thermal
                                              conduction.




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                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true copy of the foregoing

PETITION FOR INTER PARTES REVIEW OF U.S. PATENT NO. 8,117,930 and

supporting materials (Exhibits 1001-1042) has been served in its entirety the 10th

day of August 2017, by EXPRESS MAIL®, on the Patent Owner to the law firm of

record for the ’930 patent last shown in USPTO PAIR:

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Fish and Richardson indicated by e-mail correspondence on April 21, 2017 that

representation of the patent had been transferred to Edward Kelly at Ropes & Gray

LLP. A courtesy copy has also been served on this attorney:

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                      CERTIFICATE OF WORD COUNT
                  FOR INTER PARTES REVIEW PETITION


      Pursuant to 37 C.F.R. § 42.24(d), I certify that on August 10, 2017 I

reviewed the word count associated with the Inter Partes Review Petition being

filed by the Petitioner on August 10, 2017. The word count of the Petition,

excluding the table of contents, mandatory notices under § 42.8, certificate of

service, certificate of word count and appendices of claims and exhibits, is 13,058

words.




                                       RESPECTFULLY SUBMITTED,
                                       COATS & BENNETT, P.L.L.C.



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